001                                                                     001


             IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE
                      NASHVILLE DIVISION

                               Appeal from
                     Burton v. Hagh Law PLLC, et al.
                         Case No. 3:20-ap-90002


           Manookian PLLC and Brian Manookian, Appellants

                                    v.

                  Trustee Jeanne Ann Burton, Appellee


                        Case No. 3:22-cv-00474

                        Judge Aleta A. Trauger



           APPENDIX TO APPELLANTS’ OPENING BRIEF




 Case 3:22-cv-00474 Document 5-1 Filed 08/04/22 Page 1 of 134 PageID #: 57
 002                                                                                                              002


        Dated: 6/1/2022



                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

 IN RE:                              )
                                     ) Case No: 3:19-bk-07235
       Cummings Manookian, PLLC,     ) Chapter 7
                                     ) Honorable Charles M. Walker
              Debtor.                )
 ____________________________________)
                                     )
       Jeanne Ann Burton, Trustee,   )
                                     )
              Plaintiff,             )
                                     )
       v.                            ) Adv. Proc: 3:20-ap-90002
                                     )
       Hagh Law, PLLC; Afsoon Hagh;  )
       AND Manookian, PLLC,          )
                                     )
              Defendants.            )
 ____________________________________)

                          ORDER QUASHING NOTICE OF DEPOSITION


          THIS MATTER is before the Court regarding the Notice of Deposition (“Notice”) of

 Judge Charles M. Walker (Dkt. #177). For the following reasons, and under the noted authority,

 the Notice is hereby quashed and thereby, unenforceable.

          In a legal proceeding, a request for testimony from personnel of the federal judiciary is

 governed by those regulations as set forth in Volume 20, Chapter 8 of the Guide to Judiciary

 Policy (“Guide”)1 as established by the Director of the Administrative Office of United States

 Courts. U.S. v. Galvez, 2019 WL 3927443, at *1 (S.D. Ohio Aug. 20, 2019). Federal judicial



 1
  Guide to Judiciary Policy, available at https://jnet.ao.dcn/policy‐guidance/guide‐judiciary‐policy/volume‐20‐
 administrative‐claims‐and‐litigation/ch‐8‐testimony‐and‐production‐records

                                                                                                                    1

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            2 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 58Main
                            Document       Page 1 of 8
 003                                                                                                 003


 personnel may not provide testimony of the type requested in the Notice of Deposition except as

 authorized by the provisions of the Guide. See Guide at § 820(a)2.

            The Guide is persuasive authority as it codifies the policies promulgated by the Director

 of the Administrative Office and “approved by the Judicial Conference of the United States.” In

 re Sony BMG Music Entm't, 564 F.3d 1, 7 (1st Cir. 2009); see also Kitzmiller v. Dover Area Sch.

 Dist., 388 F. Supp. 2d 484, 486-87 (M.D. Pa. 2005). It provides the “official medium by which

 direction as to courtroom procedures and other information are provided to the Federal Judiciary

 in support of its day-to-day operations.” In re Sony, 564 F.3d at 7 (quoting Kitzmiller, 388 F.

 Supp. at 486-87). Mackin v. Om Sai Corp, 2021 WL 5937589, at *1 (D.N.M. Dec. 16, 2021).

            The Notice requests testimony from Judge Charles M. Walker. Accordingly, the Guide

 controls in consideration of the request contained in the Notice. According to § 810.30 of the

 Guide, the following definitions apply:

             “Information and records” is defined as follows:

             All information, records, documents, or materials of any kind, however stored,
            that are in the custody or control of the federal judiciary or were acquired by
            federal judicial personnel in the performance of their official duties or because of
            their official status.

            “Judicial personnel” is defined as:
            All present and former officers and employees of the federal judiciary and any
            other individuals who are or have been appointed by, or subject to the
            supervision, jurisdiction, or control of, the federal judiciary, including individuals
            hired through contractual agreements by or on behalf of the federal judiciary, or
            performing services under such agreements for the federal judiciary, such as
            consultants, contractors, subcontractors, and their employees and personnel. This
            phrase also includes alternative dispute resolution neutrals or mediators, special
            masters, individuals who have served and are serving on any advisory committee
            or in any advisory capacity, and any similar personnel performing services for the
            federal judiciary.


 2
     Any reference to Section refers to a provision of the Guide unless otherwise noted.

                                                                                                        2

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            3 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 59Main
                            Document       Page 2 of 8
 004                                                                                                 004



        “Legal Proceedings” means:

        All pretrial, trial, and post-trial stages of all existing or anticipated judicial or
        administrative actions, hearings, investigations, cases, controversies, or
        similar proceedings, including grand jury proceedings, before courts,
        agencies, commissions, boards or other tribunals, foreign and domestic, or all
        legislative proceedings pending before any state or local body or agency,
        other than those specified in § 810.40(b).

        “Request” is defined as:

        An order, subpoena, or other demand of a court, or administrative or other
        authority, of competent jurisdiction, under color of law, or any other request by
        whatever method, for the production, disclosure, or release of information or
        records by the federal judiciary, or for the appearance and testimony of federal
        judicial personnel as witnesses as to matters arising out of the performance of
        their official duties, in legal proceedings. This definition includes requests for
        voluntary production or testimony in the absence of any legal process.

        And “testimony” means:

        Any written or oral statement in any form by a witness arising out of the
        performance of the witness' official duties, including personal appearances and
        statements in court or at a hearing or trial, depositions, answers to interrogatories,
        affidavits, declarations, interviews, telephonic, televised, or videotaped remarks,
        or any other response during discovery or similar proceedings that would involve
        more than production of documents.

        Judicial personnel may not provide testimony in legal proceedings without the prior

 approval of a “determining officer.” See Guide at § 840(a). In relevant part, the Guide provides

 the definition of “determining officer” as follows:

        (b) The determining officer authorized to make determinations under these
        regulations will be as follows:
        (1) In the case of a request directed to a federal court of appeals judge, district judge,
        Court of International Trade judge, Court of Federal Claims judge, bankruptcy
        judge, or magistrate judge, or directed to a current or former member of such a
        judge's personal staff (such as a judge's secretary, law clerk), the determining
        officer will be the federal court of appeals judge, district judge, Court of
        International Trade judge, Court of Federal Claims judge, bankruptcy judge, or
        magistrate judge himself or herself.

        Guide at 840(b)(1).

                                                                                                       3

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            4 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 60Main
                            Document       Page 3 of 8
 005                                                                                            005



         The request as directed in the Notice is subject to the approval of the judge – in this case,

 Judge Charles M. Walker – as the determining officer.

         The determining officer is authorized to determine whether the federal judicial personnel

 may be deposed, as well as whether federal judicial records may be produced, and “what, if any

 conditions will be imposed upon such interview, contact, testimony, or production of records.”

 Guide at § 850(a). The determining officer may also deny a request if the request does not meet

 any requirement imposed by these regulations. Guide at § 850(a).

         Section 850(a) requires the determining officer to consider the following factors when

 deciding the effect in the case, as well as future cases generally, which testifying or producing

 records will have on the ability of the federal judiciary or federal judicial personnel to perform

 their official duties. These factors are:

     1. The need to avoid spending the resources of the United States for private purposes, to

         conserve the time of federal judicial personnel for the performance of official duties, and

         to minimize the federal judiciary's involvement in issues unrelated to its mission.

     2. Whether the testimony or production of records would assist the federal judiciary in the

         performance of official duties.

     3. Whether the testimony or production of records is necessary to prevent the perpetration of

         fraud or injustice in the case or matter in question.

     4. Whether the request is unduly burdensome or is inappropriate under applicable court or

         administrative rules.

     5. Whether the testimony or production of records is appropriate or necessary under the rules

         of procedure governing the case or matter in which the request arises, or under the relevant

         substantive law of privilege.

                                                                                                    4

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            5 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 61Main
                            Document       Page 4 of 8
 006                                                                                              006


    6. Whether the request is within the proper authority of the party making it.

    7. Whether the request meets the requirements of these regulations.

    8. Whether the request was properly served under applicable court, administrative, or other

       rules.

    9. Whether the testimony or production of records would violate a statute, regulation, or

       ethical rule.

    10. Whether the testimony or production of records would disclose information regarding the

       exercise of judicial or quasi-judicial responsibilities by federal judicial personnel in the

       decisional or deliberative process.

    11. Whether the testimony or production of records would disclose confidential information

       from or pertaining to a presentence investigation report or pertaining to an individual's

       probation, parole, or supervised release, or would disclose any other information that is

       confidential under any applicable statute or regulation.

    12. Whether the testimony or production of records reasonably could be expected to result in

       the appearance of the federal judiciary favoring one litigant over another or endorsing or

       supporting a position advocated by a litigant.

    13. Whether the request seeks testimony, records or documents available from other sources.

    14. Whether the request seeks testimony of federal judicial personnel as expert witnesses.

    15. Whether the request seeks personnel files, records or documents pertaining to a current or

       former federal judicial officer or employee, and

                (A) the personnel files, records or documents sought by the request may be obtained

                from the current or former federal judicial officer or employee in question, or




                                                                                                    5

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            6 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 62Main
                            Document       Page 5 of 8
 007                                                                                            007


                (B) the personnel files, records or documents sought by the request would be made

                available to the requester with the written consent or authorization of the current or

                former federal judicial officer or employee in question.

    16. Any other consideration that the determining officer designated in § 840(b) may consider

        germane to the decision.

        As to the first consideration, the Court finds that the Notice serves no purpose other than

 to waste the resources of the United States for private purposes, and act to expend time of federal

 judicial personnel better used in the performance of official duties. Moreover, such involvement

 of the federal judiciary in issues unrelated to its mission serves no party and is a misuse of the

 resources available in order to avail oneself of the justice provided by the bankruptcy system.

        Secondly, the Notice requests testimony that serves no purpose and has no relation to the

 merits of the case. Thirdly, the party seeking the testimony under the Notice – Manookian, PLLC

 - has alleged no specific instance of fraud or injustice. The request is inappropriate as the request

 for testimony from the sitting judge serves no purpose other than to taint the proceedings before

 the Court. The request is not appropriate or necessary under the rules of procedure or under

 substantive laws of privilege and is not within the proper authority of the party making the request.

        Moreover, the Court, as determining officer, will not permit the testimony as requested

 because the Notice was not issued in accordance with the requirements established in the Guide.

 The Notice did not set forth, or contain an affidavit setting forth, an explanation of the nature of

 the testimony sought, the relevance of the testimony sought to the legal proceedings, and the

 reasons why the testimony sought, or the information contained therein, are not readily available

 from other sources or by other means. Guide at § 830(a). U.S. v. Robinson, 2018 WL 6322146, at

 *2 (S.D. Ohio Dec. 4, 2018). Furthermore, § 830(b) requires that the request be “provided to the



                                                                                                    6

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            7 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 63Main
                            Document       Page 6 of 8
 008                                                                                             008


 federal judicial personnel from whom testimony or production of records is sought at least fifteen

 (15) working days in advance of the time by which the testimony or production or records is to be

 required. Failure to meet this requirement will provide a sufficient basis for denial of the request.”

 Guide at § 830(b). The request was not properly served under any applicable rules and such

 testimony would violate ethical rules as promulgated by the Judicial Conference and the

 Administrative Office of United States Courts. Id.

        The request for testimony of the judge sitting on the case is sought in order to contaminate

 the exercise of judicial and quasi-judicial responsibilities by federal judicial personnel.

        The eleventh factor is not applicable to these proceedings. For the twelfth and thirteenth

 factors, deposing the judge on a case is a manipulation of the judicial system in an effort to taint

 the proceedings. There is no expectation that any such testimony would serve any legitimate

 purpose.

        The fourteenth and fifteenth factors are not applicable. As to the last factor, any other

 consideration that may be germane to the decision of this determining officer, it is important to

 note that the request to depose Judge Walker was made by a party that has made no specific

 accusation of bias linked to any ruling in the case. Moreover, two years after its inception, the case

 is merely at the discovery stage. No dispositive rulings have been issued. The request to depose

 the sitting judge has no basis in law or fact. Honoring such request would only serve to obstruct

 the justice administered through the bankruptcy system.

        If, after considering the factors and the other requirements set forth in the Guide, the

 determining officer decides that the judicial personnel should not comply with the request, the

 judicial personnel should notify the requester of the Guide’s procedures and respectfully decline

 to comply with the request. Guide at § 850(b). As the determining officer, having considered all



                                                                                                     7

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            8 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 64Main
                            Document       Page 7 of 8
 009                                                                                                 009


 compulsory factors and other requirements set forth in the Guide, and after such deliberate

 consideration, it is my determination that, for the reasons stated above, the Notice is quashed and

 this Order serves as notice pursuant to the Guide at § 850(b).

        Therefore, the Notice is hereby quashed as inappropriate and unenforceable pursuant to the

 findings made above and the requirements of the Guide.



                     THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                             INDICATED AT THE TOP OF THE FIRST PAGE




                                                                      This Order has been electronically
                                                                      signed. The Judge's signature and
                                                                                                          8
                                                                      Court's seal appear at the top of the
                                                                      first page.
                                                                      United States Bankruptcy Court.

CaseCase
     3:20-ap-90002
         3:22-cv-00474
                     DocDocument
                         178 Filed
                                 5-106/01/22
                                       Filed 08/04/22
                                               EnteredPage
                                                       06/01/22
                                                            9 of 17:56:14
                                                                 134 PageIDDesc
                                                                            #: 65Main
                            Document       Page 8 of 8
010                                                                            010




              EXHIBIT 1




Case
 Case3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161-1 5-1FiledFiled
                                        05/05/22
                                             08/04/22
                                                    Entered
                                                       Page05/05/22
                                                            10 of 13422:20:14
                                                                      PageID #:Desc
                                                                               66
                     Exhibit Hearing Transcript Page 1 of 96
011                                                                            011



                         UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)

       IN RE:                      .            Case No. 19-07235
                                   .            Chapter 7
       CUMMINGS MANOOKIAN, PLLC,   .
                                   .
                                   .
                      Debtor.      .
                                   .
       . . . . . . . . . . . . . . .
       JEANNE ANN BURTON,          .            Adv. No. 20-90002
                                   .
                      Plaintiff,   .
                                   .
            v.                     .
                                   .
       HAGH LAW, PLLC, et al.,     .            701 Broadway
                                   .            Nashville, TN 37203
                      Defendants. .
                                   .            Thursday, March 17, 2022
       . . . . . . . . . . . . . . .            8:48 a.m.

             TRANSCRIPT OF PRETRIAL CONFERENCE AND MOTION HEARING
                    BEFORE THE HONORABLE CHARLES M. WALKER
                     UNITED STATES BANKRUPTCY COURT JUDGE

      APPEARANCES:

       For the Plaintiff:             Thompson Burton PLLC
                                      By: PHILLIP G. YOUNG, ESQ.
                                      One Franklin Park
                                      6100 Tower Circle, Suite 200
                                      Franklin, TN 37067
                                      (615) 465-6008


       APPEARANCES CONTINUED.


       Audio Operator:                Tanja Brewer, ECR


       Transcription Company:         Access Transcripts, LLC
                                      10110 Youngwood Lane
                                      Fishers, IN 46048
                                      (855) 873-2223
                                      www.accesstranscripts.com
            Proceedings recorded by electronic sound recording,
       transcript produced by transcription service.

Case
 Case3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161-1 5-1FiledFiled
                                        05/05/22
                                             08/04/22
                                                    Entered
                                                       Page05/05/22
                                                            11 of 13422:20:14
                                                                      PageID #:Desc
                                                                               67
                     Exhibit Hearing Transcript Page 2 of 96
012                                                                            012

      APPEARANCES (Continued):                                                        2


       For Hagh Law PLLC and          Bass, Berry & Sims PLC
       Afsoon Hagh:                   By: CRAIG VERNON GABBERT, JR., ESQ.
                                      150 Third Avenue South, Suite 2800
                                      Nashville, TN 37201
                                      (615) 742-6277
       For Manookian PLLC:            Spragens Law PLLC
                                      By: JOHN T. SPRAGENS, ESQ.
                                      311 22nd Avenue North
                                      Nashville, TN 37203
                                      (615) 983-8900




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
Case
 Case3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161-1 5-1FiledFiled
                                        05/05/22
                                             08/04/22
                                                    Entered
                                                       Page05/05/22
                                                            12 of 13422:20:14
                                                                      PageID #:Desc
                                                                               68
                     Exhibit Hearing Transcript Page 3 of 96
013                                                                            013

                                                                                      3

  1         (Proceedings commenced at 8:48 a.m.)

  2               THE CLERK:      All rise.     The United States Bankruptcy

  3 Court for the Middle District of Tennessee is now in session,

  4 the Honorable Charles M. Walker presiding.

  5               THE COURT:      Good morning.      Please take your seats.

  6               THE CLERK:      Your Honor, we're here on Case Number

  7 20-90002, Burton v. Hagh Law, PLLC.

  8               There's several matters set.           There's a pretrial

  9 conference, motion to compel discovery responses from Manookian

 10 PLLC.      We have a motion and notice to compel discovery

 11 responses from Hagh Law, PLLC, a motion and notice to compel

 12 discovery responses from Afsoon Hagh.               Also set this morning is

 13 Manookian, PLLC's motion and notice to compel Trustee Jeanne

 14 Burton, to respond to interrogatories, Manookian PLLC's motion

 15 for the Court to determine sufficiency of plaintiff's responses

 16 to request for admission, or alternatively to be deemed

 17 admitted.       And the last matter is motion and notice to compel

 18 Marty Fitzgerald to comply with subpoena for production of

 19 documents.

 20               THE COURT:      All right.     Thank you.

 21               Obviously, with that long laundry list of discovery

 22 related matters that we're here to resolve, as promised, we're

 23 going to be resolving all of them today.

 24               And if it gets hot in here, so be it.              There's

 25 something wrong with the air, so if it gets warm in here, too




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 13 of 13422:20:14
                                                                      PageID #:Desc
                                                                               69
                     Exhibit Hearing Transcript Page 4 of 96
014                                                                            014

                                                                                      4

  1 bad.

  2               We have a hard break at 10:45 today.             We'll recess

  3 from 10:45 to 2 p.m.          And at 2 pm., we'll come back and resolve

  4 anything, if necessary, that remains.               And we will stay until

  5 everything's resolved.

  6               Obviously, with the many provisions within the Rules

  7 of Evidence deemed in making discovery easy, it's the

  8 responsibility of good lawyers to resolve discovery.                   For us to

  9 be here on such a list means that somewhere someone has failed.

 10 So part of what I want to do today, I will be assessing who may

 11 be responsible, or how many parties may be responsible, for

 12 this breakdown in what typically is an orderly discovery

 13 process.      And rather than let the secured creditors pay, if

 14 it's one of the other parties, they'll pay.                 Or the Trustee may

 15 pay.     It all depends on who is responsible for this breakdown

 16 in what, in my years on the bench, I don't think I've ever seen

 17 quite the mess with discovery on what is not a complicated

 18 case, and a case involving lawyers, which even makes it more

 19 frustrating that we're here today.              That all these good lawyers

 20 in the room, and all of the parties are either lawyers or law

 21 firms, and the fact that this is Bankruptcy Court where we

 22 typically resolve things, because there are limited funds and

 23 everyone knows that.

 24               So I'm a little discouraged to be here today.                I'll

 25 just put it that way.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 14 of 13422:20:14
                                                                      PageID #:Desc
                                                                               70
                     Exhibit Hearing Transcript Page 5 of 96
015                                                                            015

                                                                                      5

  1               So, Mr. Young, let's get started.             We're going line

  2 by line.      Tell me what's remaining and the Court will rule

  3 accordingly.

  4               MR. YOUNG:      Yes, Your Honor.       And I'm happy to --

  5 I'll put the screen up where it's appropriate, but I'd like to

  6 just sort of talk globally a little bit if I can first.

  7               THE COURT:      Okay.

  8               MR. YOUNG:      I think on Tuesday afternoon, we filed a

  9 report so that hopefully the Court was not coming in completely

 10 cold.

 11               THE COURT:      Right.    And just one note on the status

 12 report.      Is everyone in agreement that the status report

 13 contains all of the outstanding discovery issues?                  That there

 14 are no other issues that need to be discussed today?

 15               MR. GABBERT:      The ones related to Hagh Law are fairly

 16 specific and, basically, I think we respond to most of those

 17 already.

 18               THE COURT:      All right.

 19               MR. YOUNG:      And that's, I guess that's the point.

 20 That's why I filed the status report is, from the Trustee's

 21 perspective, it's a fairly finite set of documents that we're

 22 still looking for, and I'm happy to go through those.

 23               If the Court will, I'd like to start, though, with

 24 the Fitzgerald subpoena, because that's perhaps the easiest.

 25               We issued a subpoena to Marty Fitzgerald, who's a




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 15 of 13422:20:14
                                                                      PageID #:Desc
                                                                               71
                     Exhibit Hearing Transcript Page 6 of 96
016                                                                            016

                                                                                        6

  1 third party.        It was issued December 9th, served December 13th.

  2 I assume Hagh emailed an objection on December 27th, said other

  3 counsel would contact us.           We didn't get any other kind of

  4 objection.

  5               Mr. Spragens indicated to the Court last time that he

  6 thought he could coordinate Mr. Fitzgerald's response, though

  7 not making clear that he was not representing Mr. Fitzgerald,

  8 so I'm not trying to hold him to that.

  9               But we've received nothing.           Those documents were a

 10 finite set of documents, just as the Court knows.                  And I want

 11 to explain what they are and why they're important.

 12               What we sought there were any kind of communications

 13 involving engagement or disengagement of Cummings Manookian,

 14 Manookian, PLLC, Hagh Law, PLLC, Afsoon Hagh, or Brian

 15 Manookian.       We've received from Mr. Manookian an engagement

 16 letter from Cummings Manookian.             We've received from Mr.

 17 Manookian, a letter that he purportedly sent to Mr. Fitzgerald

 18 notifying him that he'd have to get other counsel.                   I don't

 19 know, frankly, whether that was delivered, whether that letter

 20 was delivered or not.          And that was part of the reason that we

 21 were seeking to see what Mr. Fitzgerald had in his files.                     And

 22 there's been some reference to a Hagh Law engagement letter

 23 with the Fitzgeralds which we've not seen.

 24               And so that's the purpose of the subpoena.               I tried

 25 to keep it, he's a third party, he's not really involved in




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 16 of 13422:20:14
                                                                      PageID #:Desc
                                                                               72
                     Exhibit Hearing Transcript Page 7 of 96
017                                                                            017

                                                                                      7

  1 this.      I tried to keep it as finite as possible, as easy to

  2 respond to as possible.           It should just be a handful of

  3 documents, but I've received nothing.               And so we just ask the

  4 Court to compel responses to that subpoena.

  5               THE COURT:      Granted.

  6               MR. SPRAGENS:       Your Honor, would you like an update

  7 on the status of that?

  8               THE COURT:      Yes.    Sure.

  9               MR. SPRAGENS:       As Mr. Young knows, I was out of town

 10 until yesterday evening, and I inquired about that when I got

 11 back, and I'm told that Mr. Fitzgerald will be providing

 12 documents to me by tomorrow.            I would like an opportunity to

 13 look at them because I think that there may be attorney-client

 14 communications in the documents that he provides.                  But then I'm

 15 prepared to turn over whatever is given to me early next week.

 16               THE COURT:      All right.

 17               MR. SPRAGENS:       So I just wanted the Court to know

 18 that I've looked into that matter.

 19               THE COURT:      All right.      And one thing, let's go ahead

 20 and get appearances.          I kind of jumped into this before we got

 21 to the basics.

 22               So, if I can start on this side and work across the

 23 room?

 24               MR. YOUNG:      Yes, Your Honor.       Phillip Young, and

 25 Jeanne Burton is with me, here on behalf of the Trustee.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 17 of 13422:20:14
                                                                      PageID #:Desc
                                                                               73
                     Exhibit Hearing Transcript Page 8 of 96
018                                                                            018

                                                                                      8

  1               MR. SPRAGENS:       John Spragens on behalf of Manookian,

  2 PLLC.

  3               MR. GABBERT:      Craig Gabbert on behalf of Afsoon Hagh,

  4 Hagh Law, Bass, Berry & Sims.

  5               THE COURT:      All right.     Thank you.

  6               For the Fitzgerald subpoena the Court will grant the

  7 relief with the condition that any production be provided no

  8 later than the 25th.          That will give Mr. Spragens adequate time

  9 to review.       And based on the representations of Counsel, please

 10 add that to the order, that it specifically requires the

 11 turnover in production of the requested documents to the

 12 Trustee, Trustee's counsel, no later than March 25th.

 13               MR. YOUNG:      Thank you, Your Honor.         I will.

 14               The next matter I'd like to take up is the, if the

 15 Court will, is the motion to compel against Manookian, PLLC.

 16 There are actually only three remaining issues that we have and

 17 I'll talk about them, and then if we need to bring them up I'll

 18 bring them up on the screen.            I have them prepared.

 19               But it's one interrogatory and two requests.                And

 20 Manookian, PLLC did send us, on Tuesday, amended responses to

 21 those.      And actually, I believe I attached that to my status

 22 report, those amendments.           And those amendments did take care

 23 of one of the four outstanding matters as of that time, but

 24 there are still three outstanding matters and I tried to detail

 25 the issues remaining in the status report.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 18 of 13422:20:14
                                                                      PageID #:Desc
                                                                               74
                     Exhibit Hearing Transcript Page 9 of 96
019                                                                            019

                                                                                      9

  1               The biggest one, Your Honor, is Interrogatory Number

  2 5.     Interrogatory Number 5 asks, it has a list of particular

  3 cases that Cummings Manookian had been involved in

  4 pre-petition, and it asked Manookian, PLLC to say whether it

  5 had an interest in the fees of any of those cases.                   And if so,

  6 state by dollar amount or percentage the interest in fees.

  7               And we asked the same question of Hagh Law, and Hagh

  8 Law answered that question correctly, the way we had asked.

  9 But Manookian, PLLC has not responded to the question of the

 10 dollar amount or percentage of the Fitzgerald or Shoemaker fees

 11 to which it claims entitlement.

 12               I want to explain to the Court why this question is

 13 so critical to get an answer, because the answer so far has

 14 essentially been, it's governed by -- it's governed by the

 15 terms of some engagement letters and that's how it's going to

 16 be decided, what percentage.

 17               We need a percentage or a dollar amount for this

 18 reason.      If Manookian, PLLC claims that they are entitled to

 19 fees, to any portion of the fees, in either the Fitzgerald or

 20 the Shoemaker case, that's inconsistent with the position

 21 they've taken to this court so far.              That is that once a law

 22 firm withdraws, it has waived its rights to fees.

 23               So in that case, Mr. Manookian, when he was

 24 suspended, withdrew in both of those cases.                 So if they say

 25 they are entitled to fees, there's an inconsistency.                   If they




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 19 of 13422:20:14
                                                                      PageID #:Desc
                                                                               75
                    Exhibit Hearing Transcript Page 10 of 96
020                                                                            020

                                                                                      10

  1 say they are entitled to no fees from either of those cases,

  2 then I'm not sure they need to even be a party to this anymore,

  3 because those are the only two remaining major assets of this

  4 case.

  5               And so either way, that's a significant outcome to

  6 get a commitment in writing, not orally but in writing, as to

  7 whether or not Manookian, PLLC claims an interest, a specific

  8 interest, in those fees.           That's why that question is so

  9 important, and that's why we've kept pushing on that.                   It's why

 10 I said that was the first and most important issue and that it

 11 might moot all other issues as between the Trustee and

 12 Manookian, PLLC.

 13               So that's the only interrogatory that remains

 14 unresponded to, or not satisfactory to the Trustee.

 15               And then there are two other requests that we can get

 16 to, but I'd like to deal with the interrogatory first, if the

 17 Court will.

 18               THE COURT:      All right.

 19               Mr. Spragens?

 20               MR. SPRAGENS:       Thank you, Your Honor.

 21               As Your Honor probably saw in the correspondence that

 22 was produced, well that was filed in support of the status

 23 report, I have tried to figure out exactly the information that

 24 Mr. Young has been looking for.             I have tried to make a

 25 representative of the firm available to talk to Mr. Young to




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 20 of 13422:20:14
                                                                      PageID #:Desc
                                                                               76
                    Exhibit Hearing Transcript Page 11 of 96
021                                                                            021

                                                                                       11

  1 try to get answers to these questions.

  2               With respect to this specific interrogatory, we have

  3 produced the written agreement itself.               I think that Federal

  4 Rule of Civil Procedure 33(d) entitles us to produce documents

  5 in response to interrogatories, documents that are maintained

  6 in the course, the ordinary course of business.

  7               There is a legal question that's at issue there, and

  8 the Trustee can draw her own conclusions from the face of the

  9 representation agreement about whether there is any entitlement

 10 to fees, that the agreement does not claim any entitlement to

 11 fees.      And I think the document speaks for itself.

 12               So we have responded to that interrogatory.               We've

 13 given them the source document now.              And in my view, this is

 14 sort of a "gotcha" attempt to try to set up a heads I win,

 15 tails you lose, situation by the Trustee.                In fact, we've just

 16 given them the document and the Trustee can formulate its own

 17 legal position about the document.

 18               So in my view, we fully responded under 33(d).

 19               THE COURT:      Just as someone who's practiced with

 20 lawyers, for lawyers not to know how much money they think

 21 they're going to make seems a little, frankly, ridiculous.                        But

 22 I see your position.

 23               Mr. Young, did Hagh Law respond in a fashion that

 24 would give you the information?

 25               MR. YOUNG:      No, Your Honor.       Hagh Law, in response to




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 21 of 13422:20:14
                                                                      PageID #:Desc
                                                                               77
                    Exhibit Hearing Transcript Page 12 of 96
022                                                                            022

                                                                                      12

  1 that same question, we asked the same question of Hagh Law, and

  2 they actually gave a percentage that they say they're entitled

  3 to.     So that I can understand.          I know what to do with that.

  4               I'll note that Manookian, PLLC did produce one

  5 agreement in the Shoemaker case.             It did not produce an

  6 agreement related to Fitzgerald, but said that any right to

  7 fees in Fitzgerald were defined in a Hagh Law engagement letter

  8 with the Fitzgeralds, and we've not seen a Hagh Law engagement

  9 letter with the Fitzgeralds.            So I don't know what to do with

 10 that.      To say there's some document that's floating out there

 11 that defines our interest, but we've not seen it, so I just, I

 12 don't know what it to do with that.

 13               MR. GABBERT:      Your Honor, with respect to the

 14 Fitzgerald case -- do you mind if I stand here, or should I

 15 come to the podium?

 16               THE COURT:      You can --

 17               MR. GABBERT:      With respect to the Fitzgerald case, we

 18 responded we don't have a copy of any agreement.                  But, you

 19 know, we think that any -- it says, "Manookian PLLC's

 20 entitlement, if any, to payment is governed by the specific

 21 terms of a written agreement between the Fitzgeralds and Hage

 22 Law.     Manookian, PLLC does not have a copy of the written

 23 agreement."       So we've done our best to answer that one.

 24         Obviously there's outstanding discovery to the

 25 Fitzgeralds, maybe that will turn up what he's looking for.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 22 of 13422:20:14
                                                                      PageID #:Desc
                                                                               78
                    Exhibit Hearing Transcript Page 13 of 96
023                                                                            023

                                                                                      13

  1 Maybe Hage Law has documents, although my understanding is they

  2 produced documents.

  3               So, you know, I think the Fitzgerald question is

  4 resolved, from our perspective.             We've given him what we have,

  5 which is no written agreement.             And we've told him that we

  6 looked and we don't have one.

  7               With respect to the Shoemaker case, we've given him

  8 the written agreement, and I think that that should resolve the

  9 question.

 10               MR. YOUNG:      And, Your Honor, just briefly.           That

 11 resolves the request for production on that point.                   What I'm

 12 asking is whether or not they claim any entitlement to fee

 13 based on any of that.

 14               THE COURT:      All right.     What the Court's going to

 15 order is a definitive statement from Manookian, PLLC as to any

 16 percentage or dollar amount they believe they are owed, period.

 17               Again, we're dealing with attorneys, attorneys know

 18 how much money.        This is not a calculus question.            Provide the

 19 information.

 20               MR. YOUNG:      Thank you, Your Honor.

 21               I'm ready to move on to the request for production,

 22 if the Court's ready.

 23               Request for Production Number 1 asked for any

 24 documents that supported any affirmative defense or denial that

 25 was set out in the answer.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 23 of 13422:20:14
                                                                      PageID #:Desc
                                                                               79
                    Exhibit Hearing Transcript Page 14 of 96
024                                                                            024

                                                                                       14

  1               And I understand the issue about that's awfully

  2 broad.      I've tried to define that in subsequent pleadings to

  3 say what I'm really looking for here is Manookian, PLLC, and

  4 the other defendants as well, we'll get there, but Manookian,

  5 PLLC has raised affirmatively that they have proof that would

  6 disprove some of the -- some of the Trustee's allegations.                        And

  7 things that they've mentioned in the past were they had proof

  8 by video or keyswipe information that showed that Afsoon Hagh

  9 never went through the premises, the law office, after July of

 10 2018.

 11               They have documents showing that somebody other than

 12 Cummings Manookian owned the furniture, equipment, telephone

 13 number, website domain.           That they had documents concerning

 14 Cummings Manookian's rights to use the premises, or not use the

 15 premises, at 45 Music Square West.              And some, I guess, vague

 16 illusion to time records for the cases, time records that the

 17 lawyers may have kept.          If those exist, we need them.

 18               If they can disprove that this is not -- we don't

 19 want to go on a wild goose chase.              We want to narrow down what

 20 the real issues are.          And if they can disprove the Trustee's

 21 allegations, then, by all means, we'd like the evidence to

 22 disprove that so that we can narrow this down.

 23               Those issues that I just -- we don't really know what

 24 we don't know, frankly, in this case.               But those are issues

 25 that I've seen referenced in pleadings before.                 And to the




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 24 of 13422:20:14
                                                                      PageID #:Desc
                                                                               80
                    Exhibit Hearing Transcript Page 15 of 96
025                                                                            025

                                                                                      15

  1 extent that sort of information exist, we think the Trustee's

  2 entitled to receive it now.            And if we're not, then, Your

  3 Honor, we'd ask that the Court say what's not produced by a

  4 certain date can't be used.            I think it's that simple with

  5 regard to that.

  6               If video really doesn't exist, or key fob information

  7 really doesn't exist, that's fine.              If was just puffery or

  8 whatever, that's fine.          We just don't want something to come up

  9 later, well after discovery is closed, and we have to deal with

 10 it at that time.

 11               So that's what request Number 1 with regard to

 12 Manookian, PLLC involves, and that's really all we're looking

 13 for, Your Honor.

 14               THE COURT:      Okay.

 15               And, Mr. Spragens, Mr. Young has enumerated specific

 16 items or documents.          What is your objection to providing what,

 17 based off whatever conversations he's had with you, may or may

 18 not exist?

 19               MR. SPRAGENS:       Well, with respect to certain

 20 information, like he asked about key fobs and swipes, you know,

 21 what dates is he asking about, for example.                 Because producing

 22 here's -- let me tell you from my perspective what has happened

 23 in this discovery process.

 24               First of all, asking for all documents that support

 25 your affirmative defenses is a very broad, extremely broad,




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 25 of 13422:20:14
                                                                      PageID #:Desc
                                                                               81
                    Exhibit Hearing Transcript Page 16 of 96
026                                                                            026

                                                                                      16

  1 interrogatory.

  2               THE COURT:      The Court agrees.

  3               MR. SPRAGENS:       So that is a huge challenge for us to

  4 respond to.

  5               THE COURT:      Right.    There's no dispute with that.

  6               MR. SPRAGENS:       Compounding that challenge is the fact

  7 that the allegations in the complaint are sweeping allegations

  8 about the conversion of property, the misuse of office

  9 resources, furniture.          There's all this, you know, stuff in the

 10 complaint, these very broad allegations.                And I think if you'll

 11 indulge me just for a moment, what we have been trying to do in

 12 discovery is understand the nature of those allegations so then

 13 we could respond to them.

 14               And we've tried it the formal way by saying, please

 15 tell us what property are you talking about has been improperly

 16 used by Hagh Law that is actually Cummings Manookian's

 17 property, or has been used by Manookian, PLLC, that is actually

 18 Cummings Manookinan's property.             On what dates was there access

 19 to the premises at 45 Music Square West that was inappropriate?

 20               So we're trying to get the information that is

 21 underlying the allegations of the complaint so then we can

 22 provide that information to the Trustee.                But as it stands

 23 right now, just tell us everything about your involvement in

 24 all these cases, that could turn up, you know, potentially

 25 thousands of emails, a lot of which are attorney-client




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 26 of 13422:20:14
                                                                      PageID #:Desc
                                                                               82
                    Exhibit Hearing Transcript Page 17 of 96
027                                                                            027

                                                                                      17

  1 privileged, and a lot of which are not relevant to the

  2 allegations.

  3               With respect to what property was used, what's our

  4 defense.      We don't know what property they're saying was used

  5 improperly.       So if it's that, you know, Ms. Hagh, or that

  6 Cummings -- I mean, or that Manookian, PLLC was using 45 Music

  7 Square West on certain dates, then we might be able to do a

  8 search and respond to that.

  9               And frankly, Your Honor, this is why I have offered,

 10 time and time again, to make representatives of, you know,

 11 Manookian, PLLC available to talk to Mr. Young so we can try to

 12 figure out what's there and what exists and what is responsive

 13 to their discovery requests.

 14               But as it stands right now, they've made sweeping

 15 allegations in the complaint.             They haven't told us much of

 16 anything about the details behind those allegations.                   I think,

 17 as I've told the Court before, that those allegations couldn't

 18 pass a Rule 9(b) scrutiny on these fraud allegations if we put

 19 them to their burden.          But I just want to know what they're

 20 asking for and we will make a good faith effort to respond.

 21               I have never before offered to make a client

 22 available to the attorney from the other side for effectively

 23 an informal deposition, and I will do so here.                 And I think the

 24 fact that we're all lawyers, it would be a very productive

 25 conversation, but he hasn't taken me up on that offer.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 27 of 13422:20:14
                                                                      PageID #:Desc
                                                                               83
                    Exhibit Hearing Transcript Page 18 of 96
028                                                                            028

                                                                                       18

  1               So if he could help me respond, I would respond.                    As

  2 it stands right now, it is extremely broad, sweeping discovery.

  3 And, you know, I can't go through every piece of property at 45

  4 Music Square West and talk about how it was acquired, on what

  5 date, who used it.         I'd like a little bit more clarity in order

  6 to respond.

  7               THE COURT:      All right.     What the Court's going to

  8 order on this one is, during our break I want the parties to

  9 confer.

 10               Mr. Young, I want you to provide time ranges, details

 11 about what property you believe might be at issue.                   And based

 12 off the enumerated list of things that you mentioned, Mr.

 13 Spragens, I want you to then say, okay, between this date range

 14 and that date range, if there are videos, if there's swipe

 15 records, we will provide X, Y, Z.              All right?

 16               So that's your homework for the break.              Because

 17 again, this one seems fairly easy to resolve.

 18               As you've already admitted, Mr. Young, your original

 19 request was overly broad.           You have some basis based off

 20 representations from Manookian, PLLC as to what might be

 21 available.       So any items that are in that list, or similar, or

 22 were available and known once you get this date range, like any

 23 other piece of discovery that isn't turned over, you run the

 24 peril of at trial you're not able to use it.

 25               I'm not making any ruling one way or the other,




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 28 of 13422:20:14
                                                                      PageID #:Desc
                                                                               84
                    Exhibit Hearing Transcript Page 19 of 96
029                                                                            029

                                                                                      19

  1 because I think it would be a very fact specific finding,

  2 since, again, there is an unknown universe out there.                   But

  3 obviously anything that was available and known that would meet

  4 the request, once you get the date range and the specifics of

  5 what property might be at issue, would be subject to being

  6 excluded if you try to use it at trial.

  7               So that one's an easy one to resolve, and I'll give

  8 that as your homework for the break.

  9               MR. GABBERT:      And does the Court know what time March

 10 madness tips off today?

 11               THE COURT:      No.   But again, this is a painful day --

 12               MR. GABBERT:      I understand, Your Honor.

 13               THE COURT:      -- for all involved.

 14               MR. YOUNG:      Thank you, Your Honor.

 15               The last issue with regard to Manookian, PLLC is

 16 Request Number 8, which we were seeking documents and

 17 correspondence related to the Fitzgerald case.                 Specifically

 18 what we're looking for is any email communication with third

 19 parties between Manookian, PLLC and any third parties.

 20               I'm not looking for client confidentiality.               I'm not

 21 looking for that sort of thing.             What we're trying to establish

 22 here, the parties, both Manookian, PLLC and Hagh Law, have

 23 claimed that they, and not Cummings Manookian, did all the

 24 work.      And so I think we can verify or deny that by seeing how

 25 much work was done at different time periods by Manookian, PLLC




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 29 of 13422:20:14
                                                                      PageID #:Desc
                                                                               85
                    Exhibit Hearing Transcript Page 20 of 96
030                                                                            030

                                                                                      20

  1 and by Hagh Law.

  2               We've received no emails from Manookian, PLLC, and so

  3 that's -- it's a finite universe and we're looking for emails

  4 related to that case from Manookian, PLLC to any third parties,

  5 not to clients, except to the extent that it's an engagement

  6 communication, which we've already asked for.                 But that's it on

  7 Request Number 8.

  8               THE COURT:      Okay.

  9               MR. GABBERT:      Your Honor, on that one, which is, I

 10 believe, Request Number 8, it requested all documents and

 11 communications that relate or refer to the Fitzgerald case

 12 including, but not limited to, correspondence between you and

 13 counsel for the defendants in that matter.

 14               What we have said is that it's a very broad universe

 15 of documents.        It does include attorney-client privileged

 16 documents.       It includes a lot of communications, frankly.                And

 17 we said, if you can identify even general categories of

 18 materials she wants, we will be happy to look for them.                    But

 19 right now, that is -- it is too broad.

 20               So if what he is saying is, I'm looking only for

 21 communications between Manookian, PLLC and opposing counsel or

 22 third parties -- or I mean, I don't know what "third parties"

 23 means, but if we can get some specificity, we will look and we

 24 will try to produce those documents.               As it stands right now,

 25 you know, it's thousands upon thousands of document requests.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 30 of 13422:20:14
                                                                      PageID #:Desc
                                                                               86
                    Exhibit Hearing Transcript Page 21 of 96
031                                                                            031

                                                                                      21

  1               THE COURT:      All right.

  2               Mr. Young?

  3               MR. YOUNG:      Yes, Your Honor.       I'll be as specific as

  4 I can be.

  5               What we are looking for are communications with

  6 Defense Counsel, experts.           Anybody like that would not be

  7 privileged.       I understand that there would be a number of

  8 communications that are privileged.              We're looking for

  9 non-privileged documents to establish whether or not, you know,

 10 how involved Manookian, PLLC was in the trial of that case.

 11               MR. GABBERT:      And, Your Honor, I would just note that

 12 both of those categories could contain privileged

 13 communications.        The expert communications, a lot of those

 14 communications, may be privileged under the rules.                   And when it

 15 comes to correspondence with Defense Counsel, it depends on if

 16 we're talking about negotiations towards settlement or not.

 17               I know the Trustee has taken the position that

 18 settlement negotiations are always completely protected, and

 19 so, you know, we will look for those.               And if we have documents

 20 that are responsive in those two categories that are

 21 privileged, we'll produce a privilege log and he can evaluate.

 22               MR. YOUNG:      And that's fine with me, Your Honor.

 23               THE COURT:      All right.     Well, again, why are we here

 24 on that one?        That should have been resolved amongst the

 25 lawyers from day one.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 31 of 13422:20:14
                                                                      PageID #:Desc
                                                                               87
                    Exhibit Hearing Transcript Page 22 of 96
032                                                                            032

                                                                                      22

  1               So the Court will grant that request to make -- to

  2 compel that production, because it is what it is.                  And if there

  3 are no responsive documents, there's no responsive documents.

  4 Let's keep it moving.

  5               MR. YOUNG:      Thank you, Your Honor.

  6               That's all I have on the Manookian, PLLC motion to

  7 compel.      If the Court would like me, I could take up the Hagh

  8 Law and Hagh motions to compel next.

  9               THE COURT:      Okay.

 10               MR. YOUNG:      And those are related.         There's only one

 11 distinction between those two, and I'll try to highlight that

 12 first for the Court.          And then everything else -- everything

 13 else is identical as between Hagh and Hagh Law.                  The questions

 14 were virtually identical, and the responses were virtually

 15 identical.

 16               The one exception, and this is Hagh Law Interrogatory

 17 Number 8, and it asks to identify the basis for claiming the

 18 percentages of interest that I referred to earlier in each

 19 case.      And this is actually a pretty finite question here,

 20 because there have been -- there have been engagement letters

 21 produced that were between Cummings Manookian and the

 22 Fitzgeralds, for example, and Cummings Manookian and the

 23 Shoemaker plaintiffs.          And then there was one that was

 24 Manookian, PLLC and the Shoemaker plaintiffs.                 And then there

 25 was one that was a much later one that was Hagh Law and the




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 32 of 13422:20:14
                                                                      PageID #:Desc
                                                                               88
                    Exhibit Hearing Transcript Page 23 of 96
033                                                                            033

                                                                                      23

  1 Shoemaker plaintiffs.

  2               What I would like in response to Interrogatory Number

  3 8 is for Hagh Law to identify, by date and party, the

  4 engagement letters it claims that -- the claims that gives it a

  5 right to fees in Fitzgerald and Shoemaker.

  6               So for example, if Hage Law is taking the position

  7 that the Cummings Manookian engagement letter with the

  8 Fitzgeralds is what gives rise to its claim for fees, I just

  9 want to know that so that we know we have that document.                    If

 10 there's another document out there that they think gives rise

 11 to the claim for fees, I just want to know what that document

 12 is to know whether we have it or not.                Because, right now,

 13 it's very difficult for me to ascertain.

 14               So, for example, the only one I have in Fitzgerald so

 15 far is an engagement letter between Cummings Manookian and the

 16 Fitzgeralds.        And so I don't know if that's the engagement

 17 letter upon which they base their client for a fee, or if

 18 there's another one out there.

 19               And so I'm looking just specifically for an

 20 identification by date and party of the engagement letters that

 21 they believe gives rise to a claim for fees in Fitzgerald and

 22 Shoemaker, just in those two cases.              And that would resolve the

 23 issue with Interrogatory Number 8 as to Hagh Law.

 24               THE COURT:      Okay.

 25               Mr. Gabbert?




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 33 of 13422:20:14
                                                                      PageID #:Desc
                                                                               89
                    Exhibit Hearing Transcript Page 24 of 96
034                                                                            034

                                                                                      24

  1               MR. GABBERT:      Well, I think we sent seven -- we

  2 resent six letters regarding fees this morning.                  One of them I

  3 think is on Manookian letterhead, but it says the attorneys are

  4 Manookian and Hagh Law.           And I think I've sent that before, but

  5 clearly that gives Hagh Law all the right to fees.                   But, you

  6 know, they're there, and she did all the work.

  7               And Manookian couldn't get a fee because Manookian

  8 didn't have a license, and she continued to represent all of

  9 these plaintiffs and basically got the cases to conclusion.

 10 And whether she had a fee agreement or not, quite frankly,

 11 Manookian can't get a fee, Manookian has no license, and she

 12 basically did all the work.

 13               And we've already agreed, I agreed this morning -- my

 14 client, I think you know, had a baby not too long ago, and

 15 she's got the kids home on spring break this week.                   Three kids.

 16 I think the oldest may be 4.

 17               But we've agreed to produce emails and everything

 18 else by the Monday of the last week of the month.                  I think it's

 19 the 26th or 27th, or something like that.

 20               But we produced the fee agreement.             I think we

 21 produced them before, and I emailed them back to him again this

 22 morning.

 23               THE COURT:      All right.     So it's your understanding

 24 there are no other agreements that would entitle Hagh Law to

 25 fees?




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 34 of 13422:20:14
                                                                      PageID #:Desc
                                                                               90
                    Exhibit Hearing Transcript Page 25 of 96
035                                                                            035

                                                                                      25

  1               MR. GABBERT:      Other than the ones I've sent him.

  2               THE COURT:      All right.     So --

  3               MR. GABBERT:      Well, wait a minute.         If she's doing

  4 work on a case she's entitled to a fee.               Whatever agreement she

  5 has, whether it's in writing or not, if she's working on a case

  6 she's entitled to a fee.           She and the client may have done

  7 that, and may have done it in writing, may have not done it in

  8 writing, but that doesn't mean she's not entitled to a fee.

  9               And Cummings, and Cummings Manookian, cannot get fees

 10 because their named partner is disbarred, or basically, his

 11 license is suspended.          And she didn't work for them, and she

 12 never was a member of either one of those firms.                  She had been

 13 a contractor and she did work for them, but she was an

 14 independent contractor.           But she was never a part of either one

 15 of those firms.

 16               So I don't know where he gets to that, quite frankly.

 17 We'll talk about it another day.             That will be a legal issue.

 18 But I think it's a fairly clear legal issue, based on what I

 19 know as a as a prior disciplinary counselor, as well.

 20               THE COURT:      Okay.

 21               So, Mr. Young, it sounds like you've got the

 22 information that is going to be responsive.                 If you need to

 23 actually pin it down with dates, I mean, Mr. Gabbert's

 24 available right now.          During the break sit down and have him

 25 answer any questions specific to the agreements.                  And if




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 35 of 13422:20:14
                                                                      PageID #:Desc
                                                                               91
                    Exhibit Hearing Transcript Page 26 of 96
036                                                                            036

                                                                                      26

  1 there's anything unanswered, he's available for you to ask, you

  2 know, what does this really mean?

  3               MR. YOUNG:      Well, Your Honor, here's the -- I just

  4 looked through what was sent.             I had not looked through this

  5 morning what was sent to me right before we started here, but I

  6 just now looked through it.            And again, herein lies the issue.

  7 I received one Fitzgerald engagement agreement, and that's a

  8 Cummings Manookian Fitzgerald letter, a Cummings Manookian

  9 engagement letter with Fitzgerald.

 10               If there are none, I just wanted something in writing

 11 that says, there are no more.             That's all we need in this case.

 12 If this is it, if I've got the universe, a response to

 13 Interrogatory Number 8 that says, you've now received

 14 everything we have, is fine.

 15               I just don't want to be facing a situation where

 16 three months from now somebody finds another letter on a server

 17 that hadn't been searched.            That's what I'm trying to void,

 18 because I was -- I was told that she was still looking through

 19 another server.

 20               And so if that's it, then a written statement that

 21 says that is fine.

 22               THE COURT:      Okay.    Well, I think Mr. Gabbert made

 23 that representation in open Court.

 24               MR. GABBERT:      And this is just on the Fitzgerald

 25 case, the question now that you're looking for?




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 36 of 13422:20:14
                                                                      PageID #:Desc
                                                                               92
                    Exhibit Hearing Transcript Page 27 of 96
037                                                                            037

                                                                                      27

  1               MR. YOUNG:      What's that?

  2               MR. GABBERT:      Just on the Fitzgerald case is all

  3 you're looking for?

  4               MR. YOUNG:      Yeah.    Unless there's -- I just want to

  5 know that we've received everything on Fitzgerald and Shoemaker

  6 that exists.        That's all I need.

  7               MR. GABBERT:      Well, you've, I mean, I sent you some

  8 on Shoemaker this morning.

  9               MR. YOUNG:      Yeah.    Yeah.    And I've seen that already

 10 in the -- there was one for Cummings, or from Manookian, PLLC

 11 and one for Hagh Law.

 12               MR. GABBERT:      Well, the Manookian, PLLC lists Hagh

 13 Law as a co-defendant.

 14               MR. YOUNG:      Right.    I understand.       There's two of

 15 them there, but --

 16               MR. GABBERT:      Okay.

 17               MR. YOUNG:      Right.    But just a statement that says we

 18 received everything, is fine.

 19               THE COURT:      All right.     So between now and when we

 20 come back at two o'clock --

 21               MR. GABBERT:      Well, I'm going to have to check with

 22 my client on whether there's anything else on Fitzgerald other

 23 than what I have here.          I'll confirm that.

 24               THE COURT:      All right.

 25               MR. YOUNG:      Yeah.    And that's why I just asked for




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 37 of 13422:20:14
                                                                      PageID #:Desc
                                                                               93
                    Exhibit Hearing Transcript Page 28 of 96
038                                                                            038

                                                                                      28

  1 that in writing.

  2               THE COURT:      All right.     I'll expect that confirmation

  3 to be provided by two o'clock today.

  4               MR. YOUNG:      Thank you, Your Honor.

  5               The other issues are all requests for production, and

  6 they apply equally to Hagh Law.             And I assume Hagh, the first

  7 is Request Number 1, which is the exact same one we just went

  8 through with regard to Manookian, PLLC.               That is, that is

  9 whatever you've got to prove your affirmative defenses.                    And I

 10 would presume that we can work that out the same way the Court

 11 told us to work out Request Number 1 with regard to Manookian,

 12 PLLC.      So --

 13               MR. GABBERT:      Well, on that one, Your Honor, please?

 14 Hagh Law had no ownership or light lease or anything on the

 15 agreement.       It has no access to anything related to the

 16 building, on access to the building.               So that's an

 17 inappropriate thing to ask Hage Law, because they did not

 18 maintain offices in that building.

 19               MR. YOUNG:      Your Honor, I just ask whatever they

 20 have, just to --

 21               THE COURT:      Right.    So your response is -- there's

 22 your response, and you've responded accordingly.

 23               MR. GABBERT:      We've responded.        Yeah.

 24               THE COURT:      All right.

 25               So anything else on that one, Mr. Young?




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 38 of 13422:20:14
                                                                      PageID #:Desc
                                                                               94
                    Exhibit Hearing Transcript Page 29 of 96
039                                                                            039

                                                                                      29

  1               MR. YOUNG:      No.

  2               THE COURT:      I think Mr. Gabbert stated clearly his

  3 client's position.         And again, if something comes up later that

  4 should have been known and should have been turned over, then

  5 that's kind of how this works.             But based off of his

  6 representation, if they had no ability or access to get videos

  7 or swipe records or anything like that, then there's your

  8 response.

  9               MR. YOUNG:      Thank you, Your Honor.         That satisfies

 10 me.

 11               Request Number 3, copies of all engagement letters.

 12 This is the same issue that we just talked about before.                    And I

 13 understand this will be resolved the same way, which is a

 14 statement that says we produced all engagement letters that we

 15 have, is fine.        I just don't want -- again, I just don't want

 16 to find out later that there's another engagement letter that

 17 we didn't know and we've chased the case this way only to find

 18 out that there's something else out there.                So the same issue

 19 as to Interrogatory Number 8 with regard to Request Number 3.

 20 And I assume we'll handle that the same way?

 21               THE COURT:      Yes.

 22               MR. YOUNG:      Request Number 5.       And this is somewhat

 23 related.      It asks for any document that supports its claims to

 24 fees.      Again, that's going to be -- I assume that's going to be

 25 the engagement letters.           But if there are anything else, like




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 39 of 13422:20:14
                                                                      PageID #:Desc
                                                                               95
                    Exhibit Hearing Transcript Page 30 of 96
040                                                                            040

                                                                                      30

  1 time records, I've seen some reference to time records, if any

  2 of the parties have, if Afsoon Hagh or Hagh Law have time

  3 records I think that would be responsive to Request Number 5.

  4               I've received none.         I don't know whether that means

  5 there are none, but I just want to get that on the record that

  6 if there are time records, we want them turned over.                   Because

  7 I've seen some reference to them, but we've not gotten

  8 anything.

  9               So I don't know if Mr. Gabbert knows whether his

 10 client has time records or not, but --

 11               MR. GABBERT:      These cases were contingent cases. Time

 12 was not an issue.

 13               MR. YOUNG:      Fair enough.

 14               And, Your Honor, the reason I bring that up is

 15 because obviously there are two ways to get a fee.                   One is by a

 16 written engagement letter, and one is by equity.                  And time

 17 factors into an equitable analysis, which is why I've asked for

 18 that question.

 19               THE COURT:      All right.

 20               MR. YOUNG:      But if there are none, we'll consider

 21 that resolved.

 22               THE COURT:      All right.

 23               MR. YOUNG:      Request Number 8.       And this is what Mr.

 24 Gabbert just alluded to, and he did send me an email last night

 25 that said that they would produce any email correspondence




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 40 of 13422:20:14
                                                                      PageID #:Desc
                                                                               96
                    Exhibit Hearing Transcript Page 31 of 96
041                                                                            041

                                                                                      31

  1 related to Fitzgerald or Shoemaker by that date that he

  2 mentioned.

  3               MR. GABBERT:      The 28th.

  4               MR. YOUNG:      And so if we could just incorporate that

  5 in an order?

  6               THE COURT:      Please.     And put that date, the 28th, or

  7 whatever was agreed, between the two of you.

  8               MR. YOUNG:      That resolves the Trustee's issues.

  9 Those are the only issues the Trustee had regarding outstanding

 10 discovery.

 11               THE COURT:      All right.

 12               Mr. Spragens.

 13               MR. SPRAGENS:       See if I can use the technology

 14 without showing you my brackets.             All right.      Are you able to

 15 see that, Your Honor?

 16               THE COURT:      I can.

 17               MR. SPRAGENS:       Okay.    We may not need to refer to it,

 18 but I at least wanted to have it there.

 19               As Your Honor is aware, this action was filed two

 20 years ago, over two years ago.             There was a motion for turnover

 21 expedited, there have been a lot of proceedings over the last

 22 two years.       A year ago, we propounded this written discovery,

 23 in January of 2021.

 24               And sorry, I jinxed it.

 25               And our motion deals with the fact that the Trustee




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 41 of 13422:20:14
                                                                      PageID #:Desc
                                                                               97
                    Exhibit Hearing Transcript Page 32 of 96
042                                                                            042

                                                                                      32

  1 has still not been able to give us, even, responses to our

  2 interrogatories, which are really taking the allegations in the

  3 complaint and saying, what information do you have to back up

  4 this allegation, or that allegation?               Questions like:      What

  5 assets are you alleging were converted or fraudulently

  6 converted?       What property are you alleging was misused, and

  7 when?

  8               And the Trustee's responses to each and every one of

  9 these, we now have some amended responses to our

 10 interrogatories, basically are, you know, you have the

 11 information.        We don't have the information.           But there's

 12 really no, there's no final statement that we don't know it's

 13 the statements are -- they're very boiler plate objections,

 14 Your Honor.

 15               So I'm happy to go through each interrogatory one by

 16 one and discuss them.          We have made repeated attempts to try to

 17 get this information from the Trustee and we've met with

 18 resistance every time.          So now we have essentially all of our

 19 interrogatories that we've propounded, we haven't been given

 20 the amount of damages that are being sought here, or how the

 21 Trustee views damages.          What is the trustee's calculation of

 22 damages?      We haven't been given the property, the assets that

 23 were converted.        We haven't been given an itemization of the

 24 real estate at the time that the real estate was improperly

 25 used.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 42 of 13422:20:14
                                                                      PageID #:Desc
                                                                               98
                    Exhibit Hearing Transcript Page 33 of 96
043                                                                            043

                                                                                      33

  1               And so that's what our discovery is seeking.                Our

  2 motion, which is docketed at 104, goes through each one and

  3 lays out why we view the responses as deficient.                  And I'm happy

  4 to walk through each and every one with Your Honor.

  5               I think once we get some guidance from the Court it

  6 would be -- you know, that might help us meet and confer, which

  7 we should have been able to do by now, I would think, and get

  8 this resolved.

  9               But it cannot be the case that the Trustee is allowed

 10 to just make all these allegations, which sound like fraud and

 11 are very specific and detailed, and then refuse to answer

 12 discovery about, okay, well, what's the basis of these

 13 allegations.        I would submit that we wouldn't have some of

 14 these other issues with discovery that we've been talking about

 15 this morning if we had gotten some basic information in

 16 response to our interrogatories.

 17               So, you know, if the Court would like, I could go

 18 through these one by one.

 19               THE COURT:      That's what we said we're going to do

 20 today.      So start with Number 1.

 21               MR. SPRAGENS:       All right.     Thank you, Your Honor.

 22               Number 1 asks for case names of every previously

 23 pending legal action in which Cummings Manookian withdrew,

 24 terminated their representation, or stopped providing legal

 25 services to any client from January 1st, 2018 to the present.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case
Case   3:22-cv-00474 Doc
     3:20-ap-90002    Document
                         161-1 5-1FiledFiled 08/04/22
                                        05/05/22       Page05/05/22
                                                    Entered 43 of 13422:20:14
                                                                      PageID #:Desc
                                                                               99
                    Exhibit Hearing Transcript Page 34 of 96
044                                                                             044

                                                                                       34

  1                In other words, we are trying to find out in which

  2 cases the Trustee's view as that the Cummings Manookian

  3 withdrew.       The Trustee objected and refused to provide

  4 information in response to that, other than citing a letter

  5 that was sent to the Fitzgerald plaintiffs about notice of

  6 withdrawal.

  7                If that is the trustee's full response to

  8 Interrogatory 1, and the Trustee is not going to be able to

  9 supplement it, that's fine.            But I think the interrogatory

 10 response needs to say that this is all we know.                   Instead, it

 11 says, this calls for information we're still seeking in

 12 discovery.

 13                So with each of these we're caught in this cycle of,

 14 we ask a question and the response is, well, we don't know, you

 15 tell us.       So that's our view on Interrogatory 1.

 16                THE COURT:     So if I understand, Cummings Manookian

 17 knows what cases and clients they were involved and during that

 18 date range, knows when they withdrew, or if they withdrew, and

 19 you want the Trustee, who stepped in the shoes with not all the

 20 books and records, and certainly not all the information and

 21 the knowledge of this, to answer that interrogatory?

 22                MR. SPRAGENS:      I want the Trustee to answer what the

 23 Trustee knew at the time she made these allegations in the

 24 adversary proceeding.           And I think that's reasonable.           I don't

 25 think you're entitled to make allegations of fraud in an




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            44 of 13422:20:14
                                                                      PageID #: Desc
                                                                                100
                    Exhibit Hearing Transcript Page 35 of 96
045                                                                             045

                                                                                       35

  1 adversary proceeding, or any federal lawsuit for that matter,

  2 and then say, well, I don't actually, I don't know the answer.

  3 They just alleged fraud upon information and belief.                    I don't

  4 think that is how it works.

  5                I understand that bankruptcy is a different universe

  6 and, one, frankly, as the Court knows, that I don't practice in

  7 very often, but I still don't think the Trustee is entitled to

  8 just say, I don't know what the basis for these allegations

  9 was.     But if that's the answer, the Trustee needs to say so.

 10                THE COURT:     Okay.

 11                Mr. Young?

 12                MR. YOUNG:     I'm happy to address this one, Your

 13 Honor, and I'm going to address it sort of in a global way.

 14                As I think the Court knows, trustees have no

 15 firsthand knowledge.          Trustees come into a case cold and they

 16 learn what they can get from third parties, from the debtor,

 17 from defendants, from creditors, from whomever like that.                      And

 18 in this case it's been incredibly challenging because nobody

 19 will turn over the information without Court orders.

 20                And even after Court orders, they still don't turn

 21 over the information.           In the case of the Cummings Manookian

 22 motion to compel that was entered a year-and-a-half ago, still

 23 haven't gotten most of that information.

 24                And so the complaint, as the Court may recall, Mr.

 25 Manookian wanted the complaint filed by a certain date.                     We




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            45 of 13422:20:14
                                                                      PageID #: Desc
                                                                                101
                    Exhibit Hearing Transcript Page 36 of 96
046                                                                             046

                                                                                       36

  1 filed that complaint based on facts and reasonable inferences.

  2 That's what the -- that's what the law allows, facts and

  3 reasonable inferences.

  4                We have a handful of facts.           We have stated where we

  5 have facts.        Those facts, frankly, mostly come from pleadings,

  6 and the few relevant documents that we've gotten from the

  7 defendants and from Cummings Manookian, but a lot of it have

  8 come from pleadings in other cases.               Everything else, at this

  9 point, is just an assumption, really, based on the facts.                      And

 10 we've stated that where that's been the case.

 11                It is a little bit like a game of hide the ball where

 12 then the trustee's criticized for not knowing the color of the

 13 ball that's being hidden.            We are doing the best we can to

 14 respond.       After discovery I'm sure we can respond more fully,

 15 and we will respond more fully, once we get all this

 16 information.

 17                But essentially, as the Court's noted, the parties

 18 are asking us for information that's within their exclusive

 19 control, that in a lot of respects they've withheld from the

 20 Trustee, and then criticizing the Trustee because she doesn't

 21 know information that's been withheld from her.

 22                And I think the Court will -- if the Court will look

 23 through our responses, you'll see that we filed objections, and

 24 that in almost every case we said, notwithstanding the

 25 objection, here's the best we know how to answer it at this




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            46 of 13422:20:14
                                                                      PageID #: Desc
                                                                                102
                    Exhibit Hearing Transcript Page 37 of 96
047                                                                             047

                                                                                         37

  1 time.

  2                I've never, I've represented trustee's for over 15

  3 years, I've never gotten this sort of discovery to a trustee

  4 because everybody understands the knowledge limitations of a

  5 trustee, that a trustee goes out and gathers information, not

  6 disperses information.           So I don't know what to say about it,

  7 other than that.

  8                But I think that our responses are very fair.                I

  9 think that they're very complete under the circumstances.                       If

 10 there's something that we legitimately don't think is an issue,

 11 we've said so.        If there is information that we have or

 12 assumptions we're making, we've said so.

 13                And so I don't really know how to better answer this.

 14 I really tried.         I took the Court's admonition to heart.              The

 15 Trustee and I spent a lot of time going back through these to

 16 say, is there anything we can refine in these answers?                     And

 17 we've done that to the best of our ability.                 But unfortunately,

 18 we're still very early in discovery in this case.

 19 Unfortunately, that's where we are.

 20                And so until there's been some more thorough

 21 discovery we can't possibly answer questions like -- and we'll

 22 talk about this in a minute, but we just got another 86 request

 23 for admission filed since the last -- served since the last

 24 hearing that ask things like:             Admit that this engagement

 25 letter is the authentic version.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            47 of 13422:20:14
                                                                      PageID #: Desc
                                                                                103
                    Exhibit Hearing Transcript Page 38 of 96
048                                                                             048

                                                                                       38

  1                The Trustee wasn't the author of that.              She wasn't

  2 there when it was signed.            The only way she knows whether

  3 something's authentic is whether the parties to that agreement

  4 tell her it's authentic.            That's just one example, but there's

  5 a 100 examples along those same lines.

  6                So that's our frustration in this case, and those are

  7 our limitations.         And if we need to handle this differently,

  8 Your Honor, we're happy to.            But we think that we've handled it

  9 appropriately and done the best job that we could do as a

 10 fiduciary to the estate.

 11                MR. SPRAGENS:      Your Honor, respectfully, two points

 12 in response to that.          You know, one is that fraud must be pled

 13 with particularity, and I don't care who pleads fraud, I don't

 14 care if it's a trustee or a plaintiff, personal injury

 15 plaintiff, whatever, you have to plead it with particularity.

 16 And when I ask for the particulars of your allegations of

 17 fraud, which is what Interrogatory Number 5 asks for, you know,

 18 what are the fraudulent actions that you have identified, you

 19 know, time, place, date, give us the who, what, where, when,

 20 why of the fraud, the Trustee says I don't have that

 21 information.

 22                Well, that is a pleading requirement for fraud.                 And

 23 if the Trustee doesn't have that information, the Trustee needs

 24 to say, I didn't know that at the time I filed it.                   I mean, the

 25 representation today that these allegations in the adversary




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            48 of 13422:20:14
                                                                      PageID #: Desc
                                                                                104
                    Exhibit Hearing Transcript Page 39 of 96
049                                                                             049

                                                                                       39

  1 proceeding are based on, quote, "assumptions and inferences,"

  2 frankly, doesn't satisfy Rule 9 or Rule 8, I would submit, or

  3 Rule 11 for that matter.

  4                However, when we ask for things like what furnishings

  5 or equipment are you saying were converted by Manookian, PLLC

  6 or Hagh Law, we don't get any response.                But it would be useful

  7 to know what we're accused of so then we can respond to it.

  8                And, you know, I'm sympathetic to the fact that the

  9 Trustee doesn't have all the information.

 10                The other thing I would like to point out again is

 11 that I have offered on multiple occasions to make a

 12 representative, and specifically Mr. Manookian, available for

 13 Mr. Young to talk to.           So if he wants to talk about, okay, you

 14 know, I don't really know what property was there, tell me

 15 about the desks and the office, tell me about the file

 16 cabinets, tell me about the alarm system, we could have had

 17 that conversation.          Instead, we are handcuffed by the discovery

 18 process where we're trying to find out what's the nature of the

 19 allegations against Manookian, PLLC so we can respond to it.

 20 And that is the nature of every interrogatory that we are

 21 moving to compel further responses to.

 22                And the idea that, you know, I don't have it and I'm

 23 just going to say it's in your possession, or something like

 24 that, we at least need a definitive statement of what they have

 25 and don't have at this time.             And at the time, frankly, two




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            49 of 13422:20:14
                                                                      PageID #: Desc
                                                                                105
                    Exhibit Hearing Transcript Page 40 of 96
050                                                                             050

                                                                                       40

  1 years ago, when they brought this action.

  2                I do have a separate issue to raise about the request

  3 for admission, but, you know, for now, I'd like to talk about

  4 the interrogatories.          And if we can go through other

  5 categories, stealing telephone numbers, or email addresses.

  6                Okay.    What telephone numbers or email addresses, I'm

  7 referring to Interrogatory Number 10, are we being accused of

  8 converting?        I think that's pretty basic, you know, based on

  9 public records, I guess, pleadings.               As Mr. Young had said,

 10 they should be able to respond to that.

 11                When they talk about stealing client files,

 12 Interrogatory Number 11, which client files are they saying

 13 were improperly converted?

 14                You know, when they talk about work on the Fitzgerald

 15 case that's just, I mean, essentially that's been made up and

 16 called an inference here, but we'd like to know if they have

 17 any information about specific work that was done on the

 18 Fitzgerald case that Manookian, PLLC is liable for in the

 19 nature of fraudulent conversion or some other tortious

 20 interference.

 21                So, you know, each and every one of the allegations

 22 that they made is a very serious allegation, and the fact that

 23 the Trustee is the Trustee does not immunize her from complying

 24 with Federal Rule 9 in the pleadings and then backing that up

 25 in discovery.        So that's what we're asking for.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            50 of 13422:20:14
                                                                      PageID #: Desc
                                                                                106
                    Exhibit Hearing Transcript Page 41 of 96
051                                                                             051

                                                                                       41

  1                And if they don't have certain information, and they

  2 didn't at the time that they filed the case, then that is the

  3 appropriate response.           But just pointing the finger back at us,

  4 in my view, doesn't satisfy their obligations under the rules.

  5                THE COURT:     Well, under that analysis I can tell you

  6 virtually every adversary proceeding that I've seen a trustee

  7 file for preferences or any other thing would be thrown out

  8 summarily by the Court under that standard, because the trustee

  9 just doesn't have that information.

 10                And your client filed this bankruptcy on behalf of --

 11 or Mr. Manookian filed on behalf of Cummings Manookian, right?

 12 There's a list of assets on the statements and schedules.

 13 There's a list of cases and clients that are no -- that's in no

 14 universe that Cummins Manookian has personal knowledge of.

 15                The Trustee doesn't have personal knowledge of any of

 16 this.      The Trustee is getting information from pleadings that

 17 were filed under penalty of perjury and the discovery process

 18 here.      So the Court understands your frustration if you're not

 19 used to practicing in bankruptcy Court.

 20                MR. SPRAGENS:      Sure, Your Honor.

 21                THE COURT:     But this is not an IP case.           This is a

 22 trustee who you got a complaint that was filed on a date

 23 certain with the information available when it was filed.                      And

 24 you certainly had the ability to file a motion to dismiss, move

 25 for summary judgment.           Whatever's available to you in the




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            51 of 13422:20:14
                                                                      PageID #: Desc
                                                                                107
                    Exhibit Hearing Transcript Page 42 of 96
052                                                                             052

                                                                                       42

  1 litigation process is still available to you, based on if

  2 you're not satisfied with the answers and you don't believe

  3 that there's a cause of action that can be carried forward.

  4                But to ask the Trustee to go and create something the

  5 Trustee can't create is not possible.                And the Trustee doesn't

  6 have personal knowledge, because it was the Debtor who created

  7 the information and the circumstances.

  8                MR. SPRAGENS:      I appreciate that, Your Honor.            If I

  9 can just respond briefly?

 10                To get from point A, which is filing your bankruptcy,

 11 to point B, which was filing an adversary proceeding, including

 12 a lot of serious allegations of fraud.                And as Your Honor

 13 knows, this has some significant overlap with the receivership

 14 action in State Court in Williamson County, and what we're

 15 trying to figure out is how do we get from point A, which is a

 16 bankruptcy with a schedule of debts and creditors and all that

 17 stuff, to this very serious adversary preceding with these very

 18 serious allegations, which are based on what?

 19                And so I take your point, Your Honor.              We will avail

 20 ourselves of the motion for summary judgment opportunity.

 21 However, the Trustee is just going to come in and say, it's

 22 premature because we can't respond to that.                 So I'd at least

 23 like to get some finality from the Trustee in terms of

 24 discovery responses so then we can come in and file our motion.

 25                THE COURT:     All right.      Well, let's do what we're




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            52 of 13422:20:14
                                                                      PageID #: Desc
                                                                                108
                    Exhibit Hearing Transcript Page 43 of 96
053                                                                             053

                                                                                       43

  1 doing.      Let's go line by line and we will get finality while

  2 all the parties are in the room.

  3                MR. SPRAGENS:      Well, Your Honor, we had talked about

  4 Interrogatory Number 1, which was the withdrawal dates for

  5 Cummings Manookian, and what are the Trustee's allegations, or

  6 what's the Trustee's information about Interrogatory Number 1.

  7 I'm not sure that you've ruled on that one.

  8                THE COURT:     The Court finds Trustee's response to be

  9 acceptable.        And with the --

 10                Mr. Young, is the Trustee in receipt of any

 11 additional information based off of the subsequent items that

 12 have been disclosed?

 13                MR. YOUNG:     No, Your Honor.

 14                THE COURT:     All right.

 15                MR. SPRAGENS:      Interrogatory Number 2 relates to

 16 Interrogatory Number 1, which is legal services after that

 17 withdrawal date.         And essentially Trustee said, I didn't answer

 18 1, so I'm not answering 2.

 19                THE COURT:     And again, Mr. Young, you're now in

 20 possession of various engagement letters that should encompass

 21 the subsequent work by any other firms that are related to

 22 these proceedings.          Do you have any responsive information in

 23 addition to what has been given?

 24                MR. YOUNG:     No, Your Honor.        Simply because there's a

 25 we don't -- we have not been given anything that shows that




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            53 of 13422:20:14
                                                                      PageID #: Desc
                                                                                109
                    Exhibit Hearing Transcript Page 44 of 96
054                                                                             054

                                                                                       44

  1 Cummings Manookian actually terminated its relationship with

  2 anything.       So if it hasn't terminated as a relationship, then I

  3 have nothing about what happened after a termination, so --

  4                THE COURT:     Mr. Spragens?

  5                MR. SPRAGENS:      I mean, in the response to Number 1,

  6 there is the withdrawal letter in the Fitzgerald case.                     So I

  7 think that that would be one that they could respond to based

  8 upon that.

  9                THE COURT:     All right.

 10                MR. YOUNG:     Your Honor, if I may address that?

 11                A withdrawal letter doesn't mean that legal services

 12 had stopped.        What has to happen is a withdrawal in the case,

 13 and that didn't happen.           Cummings Manookian did not withdraw in

 14 the case, and so --

 15                THE COURT:     And here we go back to the argument of,

 16 are you going to assert that you're owed money after the

 17 withdrawal?        I mean, this thing is becoming a circular

 18 argument.       Again, we're all lawyers here.            If that information

 19 is necessary to prove a particular element of a cause of

 20 action, it needs to be provided on what the Trustee is relying

 21 on.

 22                Now, it gets very circular in that we keep arguing

 23 about, you know, is this the only agreement?                  Was there

 24 subsequent agreements?           The agreement stands for what it is.

 25 At some point we just need to disclose the underlying, does




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            54 of 13422:20:14
                                                                      PageID #: Desc
                                                                                110
                    Exhibit Hearing Transcript Page 45 of 96
055                                                                             055

                                                                                       45

  1 Cummings Manookian believe they're owed any money, and why.

  2 Does the Trustee believe Cummings Manookian is owed any money,

  3 and why.

  4                I mean, that's the essence of what we're talking

  5 about here.

  6                MR. SPRAGENS:      And, Your Honor, and only the Trustee

  7 can answer that question, because Cummings Manookian is not an

  8 entity.      There's not even a lawyer associated with it.                 So it

  9 couldn't exist in the future, or right now, because Mr.

 10 Manookian doesn't have a law license.

 11                So, you know, the Trustee is the one who gets to make

 12 that decision at this point.

 13                THE COURT:     So I think that's the best way to frame

 14 why we're here, right?           It's all about the money.          This is

 15 Bankruptcy Court and every second we're here somebody's not

 16 going to get a dollar, or in this case lots of dollars.

 17 Because we're here talking about things that are obvious, and

 18 should be for a bunch of lawyers who have resolved everybody

 19 else's disputes for years and can't seem to get past the forest

 20 for the trees on this dispute.

 21                So let's keep going.

 22                MR. SPRAGENS:      So Interrogatory Number 3 says, "If

 23 the Trustee alleges that Cummings Manookian is entitled to

 24 attorney's fees, or payment from Afsoon Hagh, Hagh Law, or

 25 Manookian, PLLC, identify in which cases."




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            55 of 13422:20:14
                                                                      PageID #: Desc
                                                                                111
                    Exhibit Hearing Transcript Page 46 of 96
056                                                                             056

                                                                                        46

  1                I mean, this is the theory of the case here, and so

  2 that's all we're asking for.             And I, you know, I think that's a

  3 reasonable thing to be requesting in your first set of

  4 interrogatories.

  5                MR. YOUNG:     And, Your Honor, if you'll look at the

  6 response to Number 3, we did.             We cited every -- well, in the

  7 amended responses we've actually cited the two remaining cases

  8 to which are -- that are issues, and the dates that we

  9 understand the start and we understand the stop.

 10                But the questions about, you know, identify all

 11 settlement offers obtained by Cummings Manookian, for example,

 12 the Trustee has no way of knowing.               The Trustee hasn't been

 13 given Cummings Manookian's case files.

 14                You know, identify all legal work perform by Cummings

 15 Manookian in the case such as research, drafting, number of

 16 hours spent, there's no way for the Trustee to know that.                      The

 17 Trustee knows what cases, and the Trustee has done her best to

 18 identify the start and stop dates.

 19                THE COURT:     Okay.

 20                MR. YOUNG:     The Trustee has come in and said that

 21 Cummins Manookian is entitled to fees in these cases and we're

 22 trying to figure out what's the basis for that allegation.                         And

 23 in fact, some of the cases, I mean, Cummins Manookian wasn't a

 24 going concern during some of that time period, or at least --

 25 and I haven't looked at these amended responses which just came




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            56 of 13422:20:14
                                                                      PageID #: Desc
                                                                                112
                    Exhibit Hearing Transcript Page 47 of 96
057                                                                             057

                                                                                       47

  1 in earlier this week, but, you know, that's why we're trying to

  2 find out what the Trustee's position is on this.

  3                And if the Trustee's position is, you know, we think

  4 that Cummings Manookian is entitled to some fee, but we can't

  5 tell you on what basis that, you know, theory travels, whether

  6 it's quantum meruit, or there was a settlement offer that was

  7 turned down, and so Cummings Manookian has some entitlement to

  8 that, that's all we're trying to learn here.

  9                And now we have a list of two cases, and we've been

 10 recently given an approximate start and stop date of Cummings

 11 Manookian's involvement.            We still don't really know much about

 12 why Cummings Manookian is entitled to a fee.

 13                MR. YOUNG:     Your Honor, I can answer that question

 14 right now.       The complaint answers it.           The answer to that

 15 question is, because there are engagement letters between

 16 Cummings Manookian and these plaintiffs that establish a legal

 17 right to the fee.         That's the answer to why Cummings Manookian

 18 is entitled to a fee this case.

 19                THE COURT:     All right.      There's your answer.

 20                MR. SPRAGENS:      Okay.    Well, that's the Trustee's

 21 position about the engagement letter, I guess.

 22                And the Trustee's position about withdrawal letters

 23 is that they don't actually constitute withdrawals.                    I mean,

 24 we're learning, even today, about the theory of the case.                      This

 25 is not information that had been provided to me before today.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            57 of 13422:20:14
                                                                      PageID #: Desc
                                                                                113
                    Exhibit Hearing Transcript Page 48 of 96
058                                                                             058

                                                                                        48

  1                Number 4, ask for hours.          Again, same inquiry.        We're

  2 just trying to find out what's the basis.

  3                I assume the Trustee's answer is, we don't know how

  4 many hours were worked by Cummings Manookian.                  If that's the

  5 answer, I would just like the Trustee to write that, rather

  6 than objecting to what I think is a reasonable interrogatory.

  7                THE COURT:     Mr. Young?

  8                MR. YOUNG:     Your Honor, we don't know.           And we said

  9 that we're still seeking discovery on that issue.                   Maybe Mr.

 10 Manookian knows that and will say something in his deposition.

 11 I don't know.

 12                THE COURT:     All right.

 13                MR. YOUNG:     There's no way for the Trustee to know

 14 that.

 15                THE COURT:     When is Mr. Manookian's deposition?

 16                MR. YOUNG:     It's not been scheduled, Your Honor.

 17                THE COURT:     All right.      We're going to do that today,

 18 by the way.

 19                MR. SPRAGENS:      And I assume, also, the Trustee's

 20 deposition and Mr. Young's deposition.

 21                THE COURT:     We're going to -- we're going to -- we're

 22 going to get all these discovery issues resolved.

 23                It appears that all of these are ripe for further

 24 discussion after the full and total depositions are taken.                         And

 25 at that point, any answers that are deemed unresponsive the




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            58 of 13422:20:14
                                                                      PageID #: Desc
                                                                                114
                    Exhibit Hearing Transcript Page 49 of 96
059                                                                             059

                                                                                       49

  1 parties can confer.

  2                Because it sounds like most of this is going to be

  3 driven by additional information that's available, not to the

  4 Trustee at this moment, but is locked away deep inside Mr.

  5 Manookian's brain somewhere.             That while he's under oath he

  6 will enlighten the Trustee and the other parties on exactly

  7 what happened so that the Trustee does what trustees do all the

  8 time, they amend complaints, they dismiss complaints.                    They

  9 move on if there's nothing there or it's not sustainable for

 10 the original theory of the case based off of the original books

 11 and records or whatever they used with the filing of the

 12 pleading.

 13                So that's kind of how this works.            And so for the

 14 parties to resolve these, you need to work together with the

 15 total discovery that Mr. Manookian holds the keys to the

 16 kingdom.

 17                MR. SPRAGENS:      Well, that's certainly the Trustee's

 18 theory.

 19                THE COURT:     It's not a theory, Mr. Spragens.             The

 20 Trustee was not there.           The Trustee has no crystal ball.            The

 21 Trustee steps in to save the estate for the benefit of

 22 creditors based off the actions of the people who put it in

 23 bankruptcy.

 24                I don't know -- I don't know what you expect the

 25 Trustee to come up with when the Trustee physically has no




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            59 of 13422:20:14
                                                                      PageID #: Desc
                                                                                115
                    Exhibit Hearing Transcript Page 50 of 96
060                                                                             060

                                                                                       50

  1 personal knowledge and was not involved in any of the time

  2 frames that you're seeking information.

  3                MR. SPRAGENS:      Well, Your Honor, respectfully, I

  4 mean, Number 5 is the next interrogatory.                 That's the one about

  5 fraud.      The Trustee made a bunch of allegations about fraud.

  6                And so it's one thing to preserve an estate, and to

  7 administer an estate, I certainly agree with Your Honor that

  8 that's an important function.             But let's talk about the

  9 adversary proceeding that we're here today on, which is the

 10 Trustee made a bunch of allegations about false representations

 11 or material omissions.           We've asked for more information about

 12 those.      And again on Number 5 we get told, well, actually, you

 13 know, we allege fraudulent transfers, but no fraudulent

 14 representations or material omissions.

 15                Can we get a little more information about that one?

 16                THE COURT:     All right.

 17                Mr. Young?

 18                MR. YOUNG:     Your Honor, I don't know what to say

 19 about that other than fraudulent transfers are not for all.

 20 548 is not fraud.         That's a fraudulent transfer and it's

 21 totally different.          And there are no material omissions, there

 22 are no fraudulent misrepresentations, and we've said that.

 23 We've said this is a 548 case, not a fraud case.

 24                And so I don't know how to say that more clearly than

 25 we've said that.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            60 of 13422:20:14
                                                                      PageID #: Desc
                                                                                116
                    Exhibit Hearing Transcript Page 51 of 96
061                                                                             061

                                                                                       51

  1                THE COURT:     And you're basing the fraudulent

  2 transfers on what?

  3                MR. YOUNG:     On transfers to or for the benefit of

  4 another party for less than reasonably equivalent value at a

  5 time that the estate was insolvent, or that the transfer made

  6 the estate insolvent.           This is a pretty basic 548 argument,

  7 Your Honor.

  8                THE COURT:     Okay.

  9                Mr. Spragens, with the limitation on its merely

 10 transfers, what do you believe would be responsive beyond what

 11 Mr. Young has represented is the Trustee's position?

 12                MR. SPRAGENS:      Well, Your Honor, I think intentional

 13 conversion of property falls into the nature of fraud.                     I mean,

 14 any sort of intentional misrepresentation that's being accused

 15 in this complaint, which, I mean, the complaint is full of very

 16 specific allegations -- well, I misstated that, but very --

 17 well, let's say, allegations that Hagh Law or Manookian, PLLC

 18 have taken premises, furniture, equipment, intellectual

 19 property, attorney's fees.            I mean, have taken them, so this is

 20 intentional misconduct, that's in the nature of a fraud.

 21                And I can't speak to the Bankruptcy Code if the fraud

 22 alleged here doesn't really mean a fraud, but the complaint is

 23 full of allegations of conversion, and essentially theft, that

 24 taking a property that one is not entitled to.

 25                So we are asking:       What exactly are you alleging has




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            61 of 13422:20:14
                                                                      PageID #: Desc
                                                                                117
                    Exhibit Hearing Transcript Page 52 of 96
062                                                                             062

                                                                                       52

  1 happened here?

  2                And again, I think that's an appropriate inquiry.                   If

  3 you're a Trustee, or any other plaintiff, I think you should be

  4 able to say, well, here's what we are alleging was taken, here

  5 are the fees that we allege the law firm, Cummings Manookian,

  6 is entitled to, that Manookian, PLLC, Afsoon Hagh, and Hagh Law

  7 have essentially stolen.

  8                MR. YOUNG:     And, Your Honor, we answered that in

  9 response to Number 9, that question.

 10                THE COURT:     What is your answer?

 11                MR. YOUNG:     The question is, "Identify the office

 12 space and specific furnishings and equipment you allege Brian

 13 Manookian or Manookian, PLLC utilized in Paragraph 20 of your

 14 complaint."

 15                And the response is, "Premises located at 45 Music

 16 Square West, Nashville, Tennessee, and all the furnishings,

 17 equipment, and personal property located therein."

 18                MR. SPRAGENS:      I don't know what furnishings or

 19 equipment they're referring to.              I understand there --

 20                THE COURT:     There are statements and schedules --

 21                MR. SPRAGENS:      Uh-huh.

 22                THE COURT:     -- that list everything that Cummings

 23 Manookian owned.

 24                MR. SPRAGENS:      And I don't think -- and I don't have

 25 them in front of me, I don't think that those statements and




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            62 of 13422:20:14
                                                                      PageID #: Desc
                                                                                118
                    Exhibit Hearing Transcript Page 53 of 96
063                                                                             063

                                                                                       53

  1 schedules even refer to property inside 45 Music Square West.

  2 I don't think Cummings Manookian owned that property.                    They

  3 didn't own 45 Music Square West, for starters.                  And I don't

  4 think that they own the property inside 45 Music Square West.

  5                But if that's what this is based on, then that's

  6 great, Your Honor.          Can they just write that in their response

  7 to our interrogatory?           I'd love to -- I'd love to know.

  8                THE COURT:     Mr. Young, if you could amend --

  9                MR. YOUNG:     Your Honor, I read it verbatim out of our

 10 responses.

 11                THE COURT:     To Interrogatory Number 9.

 12                MR. YOUNG:     Correct.

 13                THE COURT:     All right.      So we're talking about Number

 14 5.

 15                MR. YOUNG:     But Number 5 asks for instances of fraud

 16 that we're not alleging any material omission or false

 17 representation, that is the question.                There are no allegations

 18 of that.

 19                MR. SPRAGENS:      You all can correct me if fraud means

 20 something different in bankruptcy court than it does everywhere

 21 else.      My understanding of the Bankruptcy Rules and the Rules

 22 of Civil Procedure are that fraud must be alleged with

 23 particularity.        And I don't think that the response to Number 9

 24 is sufficient, either.           "Premises located at 45 Music Square

 25 West and all furnishings, equipment, and personal property




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            63 of 13422:20:14
                                                                      PageID #: Desc
                                                                                119
                    Exhibit Hearing Transcript Page 54 of 96
064                                                                             064

                                                                                       54

  1 therein."

  2                So if he is not alleging that there was wrongful

  3 conduct, or if the Trustee is not alleging that there was

  4 wrongful conduct, the taking of property that was not -- that

  5 Afsoon Hagh, Hagh Law, and Manookian, PLLC were not entitled

  6 to, then I guess I've misunderstood the nature of the adversary

  7 proceeding.        I think that this complaint includes very detailed

  8 allegations of fraud.

  9                THE COURT:     And here we go in another circle.             The

 10 Trustee has made allegations based off information and belief

 11 and the knowledge present when this was filed.                  Mr. Young has

 12 just articulated it's based on use, misuse, continued use,

 13 whatever it ends up being or not, of the property that was at

 14 the address that Cummings Manookian owned.                 If they didn't own

 15 anything, well, guess what?            You got a pretty easy defense.

 16                MR. SPRAGENS:      I don't disagree, Your Honor.

 17                THE COURT:     Right?     So what are we arguing about?

 18                MR. SPRAGENS:      Well, I --

 19                THE COURT:     I mean, you've got a pretty easy defense.

 20 If you say, we don't own any property there.                  Okay.

 21                MR. SPRAGENS:      Well --

 22                THE COURT:     Your witness will testify to such.             The

 23 Trustee will take the list of anything there and say, okay,

 24 here's what I got, do you own any of it?

 25                MR. SPRAGENS:      But Your Honor understands that what I




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            64 of 13422:20:14
                                                                      PageID #: Desc
                                                                                120
                    Exhibit Hearing Transcript Page 55 of 96
065                                                                             065

                                                                                       55

  1 don't want them to show up later and say is, oh, well,

  2 actually, we've got this other property, or some other thing.

  3 I mean, that's why I'm trying to find out, the nature of the

  4 allegations.        And certainly when we get into depositions, which

  5 we've been asking for for a long time --

  6                THE COURT:     Well, but --

  7                MR. SPRAGENS:      -- further light can be shed on some

  8 of those questions.          But I want to know is there going to be

  9 some other property that they're now going to say was misused

 10 or converted?

 11                THE COURT:     So the Trustee's bound by the property

 12 that's in the bankruptcy estate.              It's listed on statements and

 13 schedules.       There's no zinger here.          And if there is a zinger,

 14 guess what?        It's subject to the same thing.            If the Trustee

 15 knew, or should have known, and disclosed that, at this time

 16 the Trustee's not going to be able to use that.

 17                I mean, this is, we got a finite universe of what

 18 could be.

 19                MR. SPRAGENS:      And I appreciate that, Your Honor.

 20 And I'm encouraged to hear you say that they are going to be

 21 bound by these responses that are -- if they had information

 22 that was available to them prior to this time.                  And we're

 23 relying on these responses as we prepare our defense of this

 24 case --

 25                THE COURT:     Right.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            65 of 13422:20:14
                                                                      PageID #: Desc
                                                                                121
                    Exhibit Hearing Transcript Page 56 of 96
066                                                                             066

                                                                                       56

  1                MR. SPRAGENS:      -- I appreciate that.

  2                THE COURT:     And you should have known that from the

  3 beginning.       I shouldn't have to reiterate that, that that's how

  4 these rules work.         That's why there's rules, because discovery

  5 is a pain in the side of everyone, and we've standardized the

  6 practice and the process to ensure that there aren't zingers at

  7 trial where one party holds back or then changes their story at

  8 the end of the day.

  9                MR. SPRAGENS:      Well, Your Honor, in my view, every

 10 one of their responses includes a caveat that basically says,

 11 if I learn something later, I might change what I'm saying.

 12                THE COURT:     And that's how bankruptcy works.

 13                MR. SPRAGENS:      I appreciate what you're saying.

 14                THE COURT:     The Trustee doesn't have the information.

 15                I mean, again, under that standard there would never

 16 be a single adversary proceeding that would proceed in

 17 bankruptcy.        Every company that files bankruptcy, and then the

 18 Trustee who has a timeline where they have to file these

 19 actions, no action would ever get through any litigation

 20 because the Trustee doesn't -- the Trustee wasn't there.                     The

 21 Trustee doesn't have personal knowledge.

 22                It's only through the discovery process that they

 23 understand what happened.            So they're bound by their answers,

 24 which is why the answers say, if we find something else out,

 25 we'll include it.         And that's why Trustee's routinely drop




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            66 of 13422:20:14
                                                                      PageID #: Desc
                                                                                122
                    Exhibit Hearing Transcript Page 57 of 96
067                                                                             067

                                                                                       57

  1 counts, add counts, you know, amend, dismiss the complaint

  2 entirely, because that's how it works.

  3                And that's why the collaboration here is different

  4 from other places, because they don't have the information.

  5 The Trustee is duty bound as a fiduciary to try to maximize the

  6 value of the estate with a time certain that they have to

  7 investigate and find what causes of action may or may not be

  8 present.

  9                So I'm hearing what you're saying, but by the same

 10 token, the Trustee is doing what the Trustee does in cases, in

 11 all cases.

 12                MR. SPRAGENS:      I understand, Your Honor.

 13                Here's one that maybe we could get a little light

 14 shed on today.        Number 16 is, "Do you contend that Cummings

 15 Manookian ever employed Afsoon Hagh?"

 16                We just heard some conversation about that earlier on

 17 the prior motion to compel.            So far, we've gotten an objection

 18 and I don't know, can we supplement that based on the written

 19 discovery that they've now acquired?

 20                THE COURT:     Well, Mr. Young, that's a fair one,

 21 right?      So is there any evidence or information that leads you

 22 to believe that Ms. Hagh was ever an employee of Cummings

 23 Manookian?

 24                MR. YOUNG:     No, Your Honor.        We have no information

 25 at this time to believe that.             But we've not seen -- we've not




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            67 of 13422:20:14
                                                                      PageID #: Desc
                                                                                123
                    Exhibit Hearing Transcript Page 58 of 96
068                                                                             068

                                                                                        58

  1 seen the Debtor's employee records, we've not seen any bank

  2 account records, we've not seen -- we've not seen anything.

  3 So can I say that she's not an employee?                No.    But I also can't

  4 say that she was never an employee.               We just don't know that.

  5                I mean, we do know that she was acting as an agent,

  6 because she signed pleadings on behalf of the firm and she was

  7 listed as the point of contact on some of the invoices that

  8 they've sent us.         So we do know she was acting as an agent, but

  9 I have no idea -- we had no idea what the term of that agency

 10 was.     It may have been an independent contractor, we just don't

 11 know.

 12                We do know she wasn't, and we said so, we do know

 13 that she wasn't a partner.            We do know that.        But beyond that,

 14 we don't know what the scope of her agency was.

 15                MR. SPRAGENS:      I'm not sure how they are willing to

 16 know that she wasn't a partner, but they're not willing to know

 17 that she was an independent contractor, which we've now heard

 18 Mr. Gabbert say here, and that the documents support that.

 19                So again, from my perspective, representing, you

 20 know, this entity, in this case, the allegations are made.                         We

 21 are guilty until proven innocent and, you know, he doesn't

 22 accept the representations that he doesn't like, and he might

 23 accept the ones that he does.

 24                So it is a very tough situation to be in, in

 25 discovery when we don't understand the basis for the




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            68 of 13422:20:14
                                                                      PageID #: Desc
                                                                                124
                    Exhibit Hearing Transcript Page 59 of 96
069                                                                             069

                                                                                       59

  1 allegations and we don't understand why --

  2                THE COURT:     Well --

  3                MR. SPRAGENS:      -- you know, he'll agree that she's

  4 not a partner, but he won't agree that she was an independent

  5 contractor.

  6                THE COURT:     Again, unless I'm missing something, if

  7 your position is she never worked for your client, pretty easy

  8 defense if they make an allegation that she was, that she never

  9 did, and here's the proof.

 10                MR. SCHWARTZ:      At what point, Your Honor, does Mr.

 11 Young comment -- I mean, so let's just point out he said, well,

 12 I don't have the time records, so I don't know.                   And we're

 13 saying, there aren't time records, she wasn't an employee.

 14                But he says Manookian, PLLC you're a fraudster and

 15 you just haven't produced the time records.                 I mean, at some

 16 point, this has to end and we get the benefit of --

 17                THE COURT:     Yeah.

 18                MR. SPRAGENS:      -- I mean, fulsome --

 19                THE COURT:     And again, you know, you've said a couple

 20 things.      You've used "fraud" a lot, and you talk about guilty

 21 until proven innocent.           Let's be realistic here, right?            A

 22 complaint is a complaint.            It's not a judgment.         It's not a

 23 ruling by the Court.          Every party gets to start off with what

 24 they're alleging.

 25                MR. SPRAGENS:      Well, Your Honor, respectfully,




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            69 of 13422:20:14
                                                                      PageID #: Desc
                                                                                125
                    Exhibit Hearing Transcript Page 60 of 96
070                                                                             070

                                                                                       60

  1 there's $750,000 that's been impounded now for how long?                     Two

  2 years.

  3                THE COURT:     Which is exactly why we need to move on.

  4                MR. SPRAGENS:      I appreciate that, Your Honor.            But

  5 from my client's perspective, and I assume from Ms. Hagh's

  6 perspective, you know, there has been a burden over these last

  7 two years.       There have been very serious allegations made and

  8 there has been money impounded and here we are still trying to

  9 find out the nature of the allegations.

 10                So forgive me, please, Your Honor, if I seem a little

 11 exasperated by this process where, as I say, it's heads I win,

 12 tails you lose.         And we're here two years later, we've been

 13 asking to take the Trustee's deposition for a long time to find

 14 out some of this information, as well.

 15                THE COURT:     Well, again, your client either hired or

 16 didn't hire Ms. Hagh as an attorney.               Your client knows that

 17 information.

 18                MR. SPRAGENS:      Potentially.       I mean, Mr. Cummings was

 19 also a principal of Cummings Manookian, and so, you know, that

 20 might be another source of information for the Trustee.

 21                THE COURT:     Okay.    Well, in any event, again, it's an

 22 easy defense to say, no, and here's why.

 23                MR. SPRAGENS:      I appreciate that, Your Honor.            As

 24 long as they don't say, unless there's some other information

 25 out there that we don't know.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            70 of 13422:20:14
                                                                      PageID #: Desc
                                                                                126
                    Exhibit Hearing Transcript Page 61 of 96
071                                                                             071

                                                                                       61

  1                THE COURT:     The information that would be either

  2 provided by your client --

  3                MR. SPRAGENS:      Uh-huh.

  4                THE COURT:     -- Ms. Hagh, the law firms, the only

  5 information they're going to get is information that you

  6 provide.

  7                MR. SPRAGENS:      Well, they have the ability to get

  8 information from other sources, as well, including

  9 Mr. Cummings.        They've now sought Mr. Fitzgerald, the client in

 10 one of those matters, to produce information.                  And so we're

 11 just trying to find out what they have, what they know, and

 12 what they're alleging.

 13                For example, Number 18, economic damages, we've asked

 14 what's the basis for your allegation, what damages do you claim

 15 Cummings Manookian are owed?             And we are in the circular

 16 situation again where they say, we don't know, entitled to some

 17 damages.       And that's, again, what we're trying to find out.

 18                And if the answer is, we don't know, we can't answer,

 19 we don't have that information, then they should say that and

 20 be bound by it, is my request, Your Honor.

 21                THE COURT:     Okay.

 22                MR. YOUNG:     Your Honor, we've answered that by saying

 23 some or all of the fees and expenses collected in those cases,

 24 that's the universe.          I don't know whether yet, because I

 25 haven't finished discovery, whether the Trustee right now would




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            71 of 13422:20:14
                                                                      PageID #: Desc
                                                                                127
                    Exhibit Hearing Transcript Page 62 of 96
072                                                                             072

                                                                                       62

  1 say the Trustee is entitled to 100 percent of the Fitzgerald

  2 fees and 100 percent of what's remaining of the Shoemaker fees,

  3 because we have a written engagement letter.                  But they may have

  4 proved that, hey, we added equitably and we're entitled to some

  5 portion of that.

  6                MR. SPRAGENS:      Well, again, it's good -- useful to

  7 hear some of these things, to learn that the Trustee's position

  8 is that she's entitled to 100 percent of those fees, not

  9 withstanding the withdrawal letter that we talked about earlier

 10 and all that stuff.          This is part of the discovery process.                I

 11 agree, we shouldn't have to do it in front of the Court.

 12                I would love to learn these things in discovery,

 13 understand the nature of the allegations and the basis for

 14 these, you know, assertions.

 15                THE COURT:     All right.      So what I want to do on all

 16 of these --

 17                Mr. Gabbert, you look like you want say something.

 18                MR. GABBERT:      I'm want to ask a -- I want put

 19 something on the record before -- for the record, now I'd like

 20 to say something first.

 21                MR. SPRAGENS:      And, Your Honor, I also have -- the

 22 RFA question can be resolved in one fell swoop, I think.                     But I

 23 don't mean to interrupt.

 24                THE COURT:     All right.      Well, we've got about --

 25 we've got about another 30 minutes before I was going to take a




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            72 of 13422:20:14
                                                                      PageID #: Desc
                                                                                128
                    Exhibit Hearing Transcript Page 63 of 96
073                                                                             073

                                                                                       63

  1 break.      If you want to save it to the bitter end.

  2                MR. GABBERT:      I can do it either way, Your Honor.

  3                THE COURT:     All right.      Well, I want to hear from

  4 you.

  5                MR. GABBERT:      Okay.    Actually, I want --

  6                MR. SPRAGENS:      He's trying to jump in the line of

  7 fire. I appreciate that, Mr. Gabbert.

  8                MR. GABBERT:      Based off what I've heard today, I want

  9 to get some clarifications.

 10                Is it the Trustee's position that if Brian Manookian

 11 did not specifically file something in the court, withdrawn on

 12 the record after he lost his license, as a sole member of both

 13 of these entities, Cummings Manookian and Manookian, and could

 14 not practice anymore, if he did not specifically file something

 15 in court, when he really wasn't allowed to because he'd lost

 16 his license, is it the Trustee's position that since he didn't

 17 withdraw, even though he had no license, he's still entitled to

 18 all the fees?

 19                MR. YOUNG:     Your Honor, I mean, if we want to talk

 20 about the substance of this, I'm happy to do that.

 21                So here are the facts.         Mr. Manookian gets suspended.

 22 The firm continues its existence.              Afsoon Hagh continues filing

 23 pleadings on behalf of Cummings Manookian for months after the

 24 suspension.        Cummings Manookian never files a notice of

 25 withdrawal in the case.           Instead, what I assume, and in fact




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            73 of 13422:20:14
                                                                      PageID #: Desc
                                                                                129
                    Exhibit Hearing Transcript Page 64 of 96
074                                                                             074

                                                                                       64

  1 there was a motion to withdraw filed by Mr. Manookian in the

  2 case, no order was submitted.

  3                The motion specifically -- I'm talking about the

  4 Fitzgerald case right now.            The motion specifically says Afsoon

  5 Hagh will continue representing the plaintiffs in this case.

  6 She continued filing pleadings under the name of Cummings

  7 Manookian for a number of months until such time as she finally

  8 just dropped the moniker, Cummings Manookian, and kept

  9 everything else the same.            Didn't file a new -- a substitution

 10 of counsel or a notice of new address or anything, and we're

 11 supposed to say that that somehow was the transition to a new

 12 code.      I think the Court can understand our reservations about

 13 that.

 14                So to answer the question.          Yes, a licensed attorney

 15 continued filing pleadings on behalf of Cummings Manookian.                        It

 16 does not matter that it was not Mr. Manookian, it was a

 17 licensed attorney filing on behalf of the law firm.

 18                And Mr. Manookian didn't lose his license; he was

 19 suspended.       He was still a licensed attorney.             He could still

 20 run a PLLC, he was just suspended.

 21                MR. GABBERT:      Okay.    I just wanted clarification on

 22 where we were.

 23                THE COURT:     All right.

 24                Oh, Mr. Spragens.

 25                MR. SPRAGENS:      We'll step away from the




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            74 of 13422:20:14
                                                                      PageID #: Desc
                                                                                130
                    Exhibit Hearing Transcript Page 65 of 96
075                                                                             075

                                                                                       65

  1 interrogatories at this time and talk about the requests for

  2 admission, if that's okay, Your Honor?

  3                THE COURT:     Okay.

  4                MR. SPRAGENS:      And then I'm sure you'll have

  5 direction for us on the interrogatories.

  6                The request for admission, you know, the rule states

  7 that you have to respond.            If you don't have sufficient

  8 information, you have to say you've made a diligent search.

  9 It's pretty mechanical.           I agree that it's a bit of a

 10 technicality, but it is what the rule says.                 And it's important

 11 to us that the Trustee in responding to requests for admission

 12 follow the rule and certify that she made a diligent effort to

 13 find all information that was available to her.

 14                So it's a copy and paste that can be made to all of

 15 their responses to the RFAs that we've propounded in this case.

 16                And if she doesn't have the information, she's

 17 entitled to say that.           That is part of the RFA response

 18 process, but she needs to certify that she's made a diligent

 19 effort to find those documents.

 20                So that's it on the, RFAs, Your Honor.

 21                THE COURT:     All right.      And I would assume you agree

 22 that diligent effort is an ongoing effort based off the

 23 Trustee's unique position in the continuing discovery, the lack

 24 of depositions, that there will be other information that might

 25 change a response?




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            75 of 13422:20:14
                                                                      PageID #: Desc
                                                                                131
                    Exhibit Hearing Transcript Page 66 of 96
076                                                                             076

                                                                                       66

  1                MR. SPRAGENS:      I agree with this much, Your Honor,

  2 which is that the parties have an obligation to supplement

  3 their discovery responses throughout the process.

  4                THE COURT:     Okay.

  5                MR. SPRAGENS:      So if she -- if something changes her

  6 response and she serves supplemental responses to the requests,

  7 you know, so be it.

  8                THE COURT:     All right.

  9                Mr. Young, I mean, that's kind of how it works,

 10 right?

 11                MR. YOUNG:     Yeah.

 12                THE COURT:     So you answer based off of what you know.

 13                MR. YOUNG:     And we've done that, Your Honor.             If what

 14 he's looking for is a sentence in every one of these that says

 15 we certify that we made a diligent effort to find information,

 16 I can supplement it and add that sentence to every response, if

 17 that's what he's looking for.

 18                But we've, I mean, where we didn't know, we said why

 19 we didn't know.

 20                THE COURT:     Okay.

 21         MS. DOWNING:      If the Court would just have them add that

 22 sentence, I think that'll dispose of that issue.

 23                THE COURT:     All right.      The Court's more than

 24 happy --

 25                MR. YOUNG:     No objection.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            76 of 13422:20:14
                                                                      PageID #: Desc
                                                                                132
                    Exhibit Hearing Transcript Page 67 of 96
077                                                                             077

                                                                                       67

  1                THE COURT:     All right.

  2                MR. SPRAGENS:      And, Your Honor, if I could just say

  3 one more thing?         In general, you know, I'm sensitive to the

  4 Court's perception.          I don't want to put words in your mouth

  5 that I'm some lawyer from a different practice who's come in

  6 here and dumbed up the works here, and I assure you that's not

  7 been my intention.

  8                THE COURT:     Mr. Spragens, if I at all alluded to

  9 that, that's not the case.            I think you've represented your

 10 client and yourself very well in front of this Court, and the

 11 Court has no negative inference, connotation, belief, or

 12 assumption.

 13                MR. SPRAGENS:      Well, I appreciate that.

 14                I just wanted to say, you know, I do think that there

 15 is good faith.        You know, I don't -- I hope the Court won't

 16 find that either side has been acting in bad faith.                    I mean, I

 17 guess I hope the Court might find that they're not responding,

 18 but I'm not going to win that one anyway.

 19                So, you know, in my view, we have been trying to

 20 operate in good faith here.            I have been trying to make Mr.

 21 Manookian available to talk to them.               And, you know, I think

 22 that I've got a good basis for the request for more information

 23 and response to our interrogatories.               But if the Court says we

 24 need to move on with depositions, I'm eager to do that.                     And

 25 we've been seeking depositions on the plaintiff's side for some




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            77 of 13422:20:14
                                                                      PageID #: Desc
                                                                                133
                    Exhibit Hearing Transcript Page 68 of 96
078                                                                             078

                                                                                       68

  1 time now.

  2                So that's all I'll say.         I'm sure you can tell us

  3 where to go from here.

  4                THE COURT:     All right.

  5                And let's just go ahead and talk about depositions

  6 real quick.

  7                So I keep reading about one-on-one meetings.                Is that

  8 separate from a deposition, or is that in reference to part of

  9 the deposition?

 10                MR. SPRAGENS:      No, Your Honor, that was part of the

 11 meet and confer process that we were offering.                  So to obviate

 12 the need for this extremely pleasant hearing today I thought

 13 that we could have an informal conversation to get a little

 14 clarity about what each side was shooting at here, but then

 15 there will be depositions obviously.               And we've been seeking a

 16 deposition of the Trustee, and now Mr. Young has been

 17 identified as a witness in their discovery responses, and so

 18 we're going to seek to take a short deposition of him to find

 19 out what he knows.          So that's where we are.

 20                And in my view, you know, the Trustee should go

 21 first.      She's the person who made the allegations and she has

 22 the burden, and that's the practice that I'm familiar with, is

 23 that the plaintiff goes first in these things.

 24                THE COURT:     Okay.    Mr. Young?

 25                MR. YOUNG:     Your Honor, we don't care if the Trustee




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            78 of 13422:20:14
                                                                      PageID #: Desc
                                                                                134
                    Exhibit Hearing Transcript Page 69 of 96
079                                                                             079

                                                                                       69

  1 goes first, as long as everybody understands the Trustee, as

  2 evidence by these discovery responses here, the Trustee knows

  3 very little right now.           And that's going to be the Trustee's

  4 response at this point, is she knows the information that she's

  5 gotten from other parties, which, frankly, isn't a lot.

  6                We have no objection if they want to take her

  7 deposition first, that's fine.             But what we don't want to do is

  8 have an eight-hour deposition, as they've suggested, only for

  9 them to find out that she didn't really know that much.

 10 And then say, after we've taken all these other depositions,

 11 come back and say, now we want to depose the Trustee again.

 12                But I'm open.      It doesn't matter to us.

 13                I will say this.       I do want talk about scope,

 14 specifically with regard to my deposition, because we did

 15 identify the question was, anybody who had knowledge of

 16 anything in the complaint.            I have not -- I was the receiver in

 17 the case and I have knowledge of the references to what

 18 happened in the receivership.             Frankly, all that's moot now,

 19 because really all that had to do with was the movement of the

 20 $750,000.       But if they want to take my deposition with regard

 21 to anything prior to this bankruptcy, that's fine.

 22                I want to make sure that we're all on the same page

 23 that they're not going to ask me questions about what's

 24 happened since the bankruptcy, since I've been operating as

 25 counsel to the Trustee.           But I'm fine to tell them whatever I




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            79 of 13422:20:14
                                                                      PageID #: Desc
                                                                                135
                    Exhibit Hearing Transcript Page 70 of 96
080                                                                             080

                                                                                       70

  1 know is, or knew, as the receiver.               That's fine.

  2                But, you know, we're fine.          We would like a couple of

  3 weeks to be able to look through anything that is going to come

  4 in over the next couple of weeks.              The Trustee would like a

  5 couple of weeks to look through all that before she gives a

  6 deposition so that she can at least be as knowledgeable as

  7 possible.       But beyond that, it's fine.

  8                THE COURT:     All right.

  9                MR. SPRAGENS:      I think we're mostly on the same page

 10 there, Your Honor.          With respect to the -- I would not agree to

 11 a specific time limitation on Mr. Young, on the questions to

 12 Mr. Young, but I'm sensitive to the fact that if he has

 13 confidential communications with his client we're not going to

 14 be asking about those, or at least expecting any answers to

 15 those.

 16                If he has -- if there are things that he's done as

 17 counsel to the Trustee involving third parties that are somehow

 18 relevant to the claims, or the resolution of the claims, we may

 19 want to get into that as well in the deposition.                   But, you

 20 know, this may be something that is not a live issue and we can

 21 just think about it and come back if we foresee an issue.

 22                THE COURT:     All right.      So between now and two

 23 o'clock, by the end of this day, I want the parties to have

 24 conferred and reached a schedule for depositions, and within

 25 the order, a detailed scope of those depositions and any




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            80 of 13422:20:14
                                                                      PageID #: Desc
                                                                                136
                    Exhibit Hearing Transcript Page 71 of 96
081                                                                             081

                                                                                       71

  1 specifics that are necessary to be fully disclosed within the

  2 order.

  3                And also, to address the request for admissions

  4 issue.      It's fairly early in the process for admissions, given

  5 all that needs to happen.            So please address that with some

  6 formality once the formal discovery to include the depositions

  7 are done, when the amendments for the admissions should be

  8 propounded on the other side.

  9                MR. YOUNG:     And, Your Honor, just as a formal matter

 10 on our motions to compel further interrogatory responses.                      What

 11 I think I heard the Court saying was, after the depositions we

 12 could expect to get more information from the Trustee.                     But I

 13 just want to know what the ruling is on our motion, I guess.

 14                THE COURT:     So same with date certain.           After

 15 conclusion of all depositions, that there would be amendments

 16 provided and certification that each answer is still valid so

 17 that there's no confusion of what the Trustee's position is.

 18                And then, of course, you're postured to take whatever

 19 next step you feel your client can take, whether it's an

 20 outright motion to dismiss for failure to state a cause, or,

 21 you know, one or -- one count or another that no longer is

 22 sustainable, whatever you feel.              That's the appropriate time to

 23 tee it up for further action from the Court.

 24                MR. SPRAGENS:      Your Honor, may I address one other

 25 thing?      I mentioned this, that since our last hearing we




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            81 of 13422:20:14
                                                                      PageID #: Desc
                                                                                137
                    Exhibit Hearing Transcript Page 72 of 96
082                                                                             082

                                                                                       72

  1 received another 86 request for admission from Manookian, PLLC.

  2 Could we include in that order -- because we could go through

  3 this whole thing again and the Trustee is still saying, we

  4 don't know, we don't know, we don't know, or we could simply

  5 say that those responses will be due at the conclusion of

  6 discovery and save everybody a lot of time and trouble on that

  7 second set of requests for admission.

  8                THE COURT:     Yeah.    And well, the Court has a

  9 threshold question of, why were the requests propounded late,

 10 or after the deadline in the original order?

 11                MR. SPRAGENS:      I confess, Your Honor, that I did not

 12 understand the order to apply to RFAs, which I think of as a

 13 tool to sharpen the issues as the case proceeds.                   So I

 14 apologize if we violated the Court's order on written

 15 discovery, that was not my intent.

 16                In general, my view is that the RFAs help sharpen the

 17 case.      And we can understand if the Trustee agrees that, okay,

 18 this is the actual agreement.             And, you know, we're not going

 19 to have debates about the authenticity of evidence and stuff

 20 like that.       So that's the thought process behind them.

 21                And I personally would prefer to have the responses

 22 before the deposition so at least we can cross some things off

 23 the list before we ask questions.              But, you know, the Court

 24 will do what it will do.

 25                MR. YOUNG:     And we're not going to know the answers




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            82 of 13422:20:14
                                                                      PageID #: Desc
                                                                                138
                    Exhibit Hearing Transcript Page 73 of 96
083                                                                             083

                                                                                       73

  1 to all the authenticity questions until after depositions, Your

  2 Honor.

  3                THE COURT:     All right.      Let's keep them after

  4 depositions, on the same time frame as all the other written

  5 discovery that's going to be amended or supplemented.

  6                And I think the parties should both bear in mind that

  7 there's a dispositive motion deadline of June 24th.                    So keep

  8 that in mind when you propose something to the Court this

  9 afternoon on the timing so that you don't back yourself into a

 10 corner on the deadlines that are yet to come.

 11                All right.     And although a little bit early, this is

 12 probably a good time to take a break.                You've got your homework

 13 for the next couple hours.            And I'll just say, the Court

 14 understands that the parties are representing their clients,

 15 and trying to zealously represent their clients, and as we've

 16 seen today, I mean, I haven't seen either party be

 17 unreasonable.        I have seen some discussions that had to happen

 18 in order to get to the actual issues, but the Court believes

 19 the parties are trying to be reasonable.

 20                What the Court doesn't believe is happening is that

 21 there's adequate communication going on.                So this is your

 22 opportunity to communicate and effectively work through some of

 23 these barriers so that we can press forward and resolve this

 24 case, finally, so that you don't have to keep coming over here.

 25                And the tip off is at 11:15, by the way.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            83 of 13422:20:14
                                                                      PageID #: Desc
                                                                                139
                    Exhibit Hearing Transcript Page 74 of 96
084                                                                             084

                                                                                        74

  1                So, you know, the Court wants to make sure that the

  2 parties understand the Court's here to help you if needed.                         But

  3 there's enough smart lawyers in this room that self-help is the

  4 best help, and, you know, let's try to resolve these things,

  5 communicate, figure out where the issues are.

  6                Understand that bankruptcy proceedings are a little

  7 less certain at the beginning because the Trustee doesn't have

  8 a lot of information.           But the reality is, at the end of the

  9 day, it's a federal court proceeding subject to the same rules

 10 and the same law as any other adversary proceeding.

 11                So keep that in mind, that we're trying to minimize

 12 the cost to the estate.           Because, ultimately, that costs

 13 somebody else money.          The unsecured creditors are paying for

 14 it, or, you know, if this is an excess case, Mr. Manookian was

 15 paying for it.        I mean, somebody is paying for having three

 16 lawyers and a Trustee sitting in a room.

 17                It sounds like the beginning of a bad joke, but, you

 18 know, that's where we are.

 19                So please take the next couple hours.              I'll be back

 20 on the bench at two o'clock.             If there's any other discovery

 21 issues that haven't been addressed that we need to address --

 22 is there anything else out there besides what we've already

 23 talked about?

 24                MR. SPRAGENS:      Not from my perspective, Your Honor.

 25                MR. YOUNG:     I don't think so, Your Honor.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            84 of 13422:20:14
                                                                      PageID #: Desc
                                                                                140
                    Exhibit Hearing Transcript Page 75 of 96
085                                                                             085

                                                                                       75

  1                MR. GABBERT:      Your Honor, please, if I may?           I think

  2 the only thing I'm looking for is any other Fitzgerald

  3 agreement.       Other than, I don't have anything else on this

  4 sheet, do I?

  5                MR. SPRAGENS:      I think that's right.

  6                MR. GABBERT:      So if I could just provided him a

  7 statement regarding that, do I have to come back?                   Because I'm

  8 not involved in all this other stuff.

  9                MS. YOUNG:     He's trying to save -- trying to save

 10 money.

 11                MR. SPRAGENS:      Your Honor, I --

 12                THE COURT:     Mr. Gabbert, the Court's -- if all issues

 13 are resolved, the Court's happy to send you on your way.

 14                MR. GABBERT:      Well, he can -- he can advise that I

 15 have responded by what the rules are.

 16                MR. SPRAGENS:      I'll make that representation for

 17 Mr. Gabbert.

 18                THE COURT:     All right.      Good enough.

 19                All right.     Court will be adjourned until -- or in

 20 recess till two o'clock this afternoon.

 21                THE CLERK:     All rise.

 22         (Recess taken at 10:28 a.m.)

 23         (Proceedings resumed at 2:08 p.m.)

 24                THE CLERK:     All rise.

 25                THE COURT:     Please take your seats.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            85 of 13422:20:14
                                                                      PageID #: Desc
                                                                                141
                    Exhibit Hearing Transcript Page 76 of 96
086                                                                             086

                                                                                           76

  1                All right.     Mr. Young?

  2                MR. YOUNG:     Your Honor, Phillip Young on behalf of

  3 the Trustee.

  4                I think we've made some progress on most things.                    I

  5 think there are still a few things that we'd like the Court's

  6 input on.       Let me start with the things that I think that we've

  7 agreed upon.        This is really just for the record.             This will

  8 kind of be incorporated into the order we'll submit.

  9                But Mr. Gabbert is going to confirm, by March 25th,

 10 that's the only Fitzgerald letter.               We had referenced that.

 11                THE COURT:     Okay.

 12                MR. YOUNG:     I think he was unable to get in touch

 13 with his client this afternoon.              So he's just agreed that by

 14 March 25th, he'll do that.

 15                We're also going to provide that Manookian, PLLC will

 16 amend its response to Interrogatory Number 5, as the Court

 17 instructed by March 25th, by that same date.

 18                And then, as the Court suggested, we've given more

 19 specific information on the Request for Production Number 1,

 20 that's the one about defenses.             We provided more specific, kind

 21 of bullet point things, that we're looking for to Manookian,

 22 PLLC.      And so they're going to respond accordingly.

 23                We've agreed that we're going to amend our response

 24 to Interrogatory Number 1 by March 25th.                That's the one that

 25 asks for what individuals have knowledge.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            86 of 13422:20:14
                                                                      PageID #: Desc
                                                                                142
                    Exhibit Hearing Transcript Page 77 of 96
087                                                                             087

                                                                                       77

  1                And the reason being, so the Court understands why

  2 that is.       You know, the scope of the complaint when filed was

  3 16 cases, there were 16.            Now we're talking about two case.              So

  4 obviously that really funnels down what actually is in dispute.

  5 And so that the parties don't waste time worrying about, you

  6 know, depositions on parties that really don't matter anymore,

  7 we're going to amend that to make that clear.

  8                We already mentioned this, that I was going to add

  9 the certification language to the request for admissions that

 10 Mr. Spragens had requested.

 11                We've agreed that by June 1 all parties will amend

 12 interrogatory responses, requests for admission responses, that

 13 we'll respond to those second -- that second set of requests

 14 for admission by June 1.

 15                We've also agreed that topics for depositions will be

 16 identified in the deposition notices so that all the parties

 17 will have notice of that.

 18                And then we've agreed on a deposition schedule for, I

 19 guess, the four primary depositions.               And that is Jeanne

 20 Burton, me as receiver, Brian Manookian, and Afsoon Hagh.                      And

 21 those dates are, Jeanne Burton's will be April 20th at 10 a.m.,

 22 mine will be April 21st at 10 a.m., Mr. Manookian, who the

 23 notice will be for Manookian, PLLC, Cummings Manookian, and

 24 Brian Manookian, we'll notice them all up on the same day, May

 25 9th at 10.       And then Afsoon Hagh and Hagh Law at May 10th at




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            87 of 13422:20:14
                                                                      PageID #: Desc
                                                                                143
                    Exhibit Hearing Transcript Page 78 of 96
088                                                                             088

                                                                                       78

  1 ten o'clock.

  2                And so we'll put all that in the order.

  3                MR. SPRAGENS:      Mr. Young, can I just add?

  4                MR. YOUNG:     Yeah.    Go ahead.

  5                MR. SPRAGENS:      Mr. Gabbert, I don't think, has agreed

  6 on the deposition schedule.            And so when I spoke to him he had

  7 a preference for having the Trustee at the end, which I

  8 understand is a more conventional practice in bankruptcy court.

  9 My client has a preference for having the Trustee at the

 10 beginning.       And so as I said in the email to you, that's an

 11 issue that is still sticky.            But we agree with the scheduling

 12 that you just announced.

 13                MR. YOUNG:     And I do want to address that issue,

 14 because we want to avoid these repeat depositions.                   We don't

 15 want to have to go through a deposition where the Trustee says,

 16 you know, I don't know that yet, I don't know that yet, I don't

 17 know that yet, and then go through another deposition at the

 18 end to ask essentially the same questions.

 19                We don't care if the parties want to take Ms.

 20 Burton's deposition early, that's fine.                What we don't want to

 21 do is to have repeat depositions.              To have, you know, one April

 22 20th and one May 30th.           And so we had a disagreement about

 23 that.

 24                And as Mr Spragens said, Mr. Gabbert, I think, has a

 25 preference toward taking it towards the end, and Mr. Spragens




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            88 of 13422:20:14
                                                                      PageID #: Desc
                                                                                144
                    Exhibit Hearing Transcript Page 79 of 96
089                                                                             089

                                                                                       79

  1 has a preference toward taking it toward the beginning.                     But we

  2 only want the Trustee to sit for one, eight-hour deposition.

  3 We don't want to have to, you know, spread this out.                    And so

  4 that was --

  5                THE COURT:     Well --

  6                MR. YOUNG:     -- one of the issues that we were going

  7 to see --

  8                THE COURT:     I'll make a statement that if there is a

  9 second deposition, the party requesting it may end up paying

 10 for it.      I'll leave it at that.          If Mr. Manookian drives this

 11 such that what is probably the course of action that makes the

 12 least amount of sense in this scenario, then if there is a

 13 second deposition, he may be paying for that time to take that

 14 deposition.        But I'll let the parties -- if the parties are

 15 agreeable to that schedule, we'll go forward with that

 16 schedule.

 17                MR. SPRAGENS:      Right.

 18                THE COURT:     But know that the nature of this

 19 proceeding, it doesn't make a bit of sense to do the Trustee

 20 first.

 21                MR. YOUNG:     I hear you loud and clear, Your Honor.

 22                THE COURT:     So --

 23                MR. YOUNG:     Yeah.    The one thing I was going to say

 24 is, I was always trying to split the hairs between the two

 25 parties on our side of the table here.                I thought about if we




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            89 of 13422:20:14
                                                                      PageID #: Desc
                                                                                145
                    Exhibit Hearing Transcript Page 80 of 96
090                                                                             090

                                                                                       80

  1 tried to take her deposition and reserved some of the time for

  2 later -- I mean, one of the issues here is because the Court is

  3 not going to require anybody to supplement their

  4 interrogatories until after through depositions have been

  5 taken, there is room for some serious changes in the written

  6 discovery at that time, and that's what we want to sort of

  7 guard against is that all of a sudden there's a new theory that

  8 we couldn't anticipate, or new information that we couldn't

  9 anticipate, that comes out.

 10                I take your point though, that if a second deposition

 11 is needed, and if the Court finds that it's not warranted or

 12 whatever, Mr. Manookian would be paying for it.

 13                THE COURT:     Yeah.    And again, it's bankruptcy, right?

 14 We got limited number of theories that are going to be out

 15 there.      Let's be real.       These are attorneys, everybody knows

 16 what the theories are probably going to be, and the information

 17 that's going to come out is going to drive that one way or the

 18 other.      So let's not make it harder than it really is.                 This is

 19 not a new or novel concept.            These are not issues that are

 20 first impression.

 21                This is what happens here in bankruptcy court every

 22 day.     You have a company that is no longer operating, there are

 23 books and records, there's still effectively accounts

 24 receivable out there that need to be collected, and the Trustee

 25 is trying to collect those accounts receivable and look back as




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            90 of 13422:20:14
                                                                      PageID #: Desc
                                                                                146
                    Exhibit Hearing Transcript Page 81 of 96
091                                                                             091

                                                                                        81

  1 to whether there's any transfers or transactions that can be

  2 set aside.       I mean, it's not that hard, so --

  3                MR. YOUNG:     And the Trustee does view this, for the

  4 record, as an accounts receivable case.                That's what we view

  5 this as, is as an accounts receivable case, primarily.                     And

  6 that's the way we've been proceeding, but --

  7                THE COURT:     Yeah.

  8                And I get it, Mr. Spragens, that -- and again, you

  9 know, you're representing your client zealously, and the

 10 Court's making no determination one way or the other.                    You

 11 know, your strategy and your client's strategy is what it is.

 12 But know that, you know, this Court's seen these cases a

 13 thousand times and is not going to be surprised or hoodwinked

 14 by anything and is well capable of dealing with any "gotcha"

 15 moments as they come, and will deal with them fairly harshly on

 16 whichever side they come out, just given the fact that we're

 17 wasting a day here to go over discovery requests.

 18                So I'm taking copious notes on what's said here.                    I'm

 19 going to listen to this transcript again.                 And if we get to a

 20 trial situation where there's something that needs to be

 21 addressed, it will not end well for whichever side is the cause

 22 of it, period.

 23                MR. SPRAGENS:      Thank you, Your Honor.

 24                MR. YOUNG:     Your Honor, one other -- one other thing

 25 about which we've been unable to reach an agreement is the




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            91 of 13422:20:14
                                                                      PageID #: Desc
                                                                                147
                    Exhibit Hearing Transcript Page 82 of 96
092                                                                             092

                                                                                       82

  1 location of the depositions.             The Trustee suggested that these

  2 four in-person depositions take place here in the Court, in the

  3 courthouse.        There's lots of reasons for that.            It's a

  4 centralized location, it has security, the Court's more

  5 available if there becomes a problem.                We hope there's not a

  6 problem, but --

  7                THE COURT:     We're having the depositions here.

  8                MR. SPRAGENS:      That's fine, Your Honor.          And just for

  9 the record, I'll preserve my objection to that.                   And I heard

 10 Mr. Gabbert object to it earlier, as well.

 11                THE COURT:     Okay.    Well, if the parties can't agree,

 12 you know, you still have the opportunity to agree on a

 13 location.

 14                MR. SPRAGENS:      Sure.

 15                THE COURT:     But in the absence of agreement, we'll

 16 hold a hearing.         I'll be in my chambers or available by video.

 17 If the there's a problem, we'll address it on the spot.                     So,

 18 you know, I don't know of any other way to do this, if we can't

 19 agree on something as simple as location.

 20                MR. SPRAGENS:      Well, I thought the normal rule was

 21 you produce the witness at the witness's place of business or

 22 convenience, basically.           So I was surprised to hear this

 23 proposal, that all the depositions would be conducted here.

 24                This parking lot out back is $40 a day I noted, as I

 25 tried to dodge parking tickets today.                And so I was thinking




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            92 of 13422:20:14
                                                                      PageID #: Desc
                                                                                148
                    Exhibit Hearing Transcript Page 83 of 96
093                                                                             093

                                                                                       83

  1 there might be a more convenient reason.                I don't buy that

  2 there's a security issue in this case.                The Court is available,

  3 I appreciate that, by telephone, video, or all the other ways

  4 that we can get access to the Court.               So to me, it's overkill

  5 to have them at the courthouse.

  6                THE COURT:     I agree.

  7                MR. SPRAGENS:      And I -- so this wasn't our proposal,

  8 and I think it's a departure from the ordinary course and I

  9 don't understand the basis for it.

 10                THE COURT:     Okay.

 11                MR. SPRAGENS:      So I --

 12                THE COURT:     So, Mr. Young, let's articulate a basis

 13 on the record.

 14                MR. YOUNG:     Sure.    First of all, I think the Court

 15 knows that this is not -- it's not unusual for a Trustee to

 16 conduct depositions at the courthouse.                That's fairly common

 17 for trustee's to do.

 18                Secondly, you know, it's more centralized than having

 19 parties come to my office in Williamson County, for example.

 20 This is a lot more central location.

 21                And third, we do think that there's a security issue

 22 here.      There's already been a restraining order put down

 23 against Mr. Manookian by one of the creditor's lawyers in this

 24 case, and I don't take that lightly on behalf of my client.

 25                So those are the reasons.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            93 of 13422:20:14
                                                                      PageID #: Desc
                                                                                149
                    Exhibit Hearing Transcript Page 84 of 96
094                                                                             094

                                                                                       84

  1                MR. SPRAGENS:      Well, and, you know, my office is just

  2 down the street and parking is free.

  3                There's no security issue.          I don't think that

  4 there's any record that would support that there is a security

  5 issue in this ordinary bankruptcy case involving professional

  6 lawyers on all sides.

  7                So this proposal was presented to me.              I said I

  8 disagreed with it.          And Mr. Young said, well, we'll take it up

  9 with the Court.         So, you know, in my view, this is the

 10 departure from the norm, not the other way around.

 11                THE COURT:     Okay.

 12                And, Mr. Young, you're going to represent that you're

 13 uncomfortable doing depositions in Mr. Spragens' office?

 14                MR. YOUNG:     Yes, Your Honor.

 15                THE COURT:     All right.      And then I'll just address

 16 the 100 pound gorilla in the room on that issue.

 17                To be candid, Mr. Spragens, I mean, your client's

 18 past behavior before the tribunals, and I've had at least two

 19 lawyers call the Court and say they don't feel comfortable if

 20 your client is going to appear, and, you know, the Court takes

 21 those concerns very seriously and makes no conclusion on

 22 whether they are valid, they are perceptions which drive

 23 behaviors of other parties.            And to eliminate any of those

 24 perceptions, and to protect everyone against any allegations of

 25 bad behavior, misbehavior, or perceived misbehavior, it makes




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            94 of 13422:20:14
                                                                      PageID #: Desc
                                                                                150
                    Exhibit Hearing Transcript Page 85 of 96
095                                                                             095

                                                                                       85

  1 sense to do them here in an environment where no one can get

  2 your client further down a rabbit hole of he did this or he did

  3 that, that we're in a neutral environment, which affords

  4 certain protections.          And if nothing else, in terms of

  5 everybody's on their best behavior.

  6                And so the Court's going to make that determination,

  7 that the depositions, unless the parties can agree, will be

  8 held here in the courthouse.             And as a matter of fact, again,

  9 there will be some method available to reach the Court if

 10 during those depositions we have further in issues with

 11 discovery.

 12                MR. YOUNG:     Thank you, Your Honor.

 13                I think the last issue that we needed, unless Mr.

 14 Spragens has something else that I've forgotten.                   The last

 15 issue that I have on my list that we needed some input from the

 16 Court on is the scope of my deposition.

 17                There was a question that was asked in the

 18 interrogatories about, list all parties who had knowledge of

 19 any element of the complaint, you know, any of the complaint.

 20 The complaint originally, if the Court will recall, had a fair,

 21 a substantial amount about the $715,000 and about the transfer

 22 of that and about the genesis of that in the receivership.

 23                Obviously, as the former receiver in that case I had

 24 knowledge about that.           That part's not so relevant anymore

 25 because the money's frozen and now we're really talking about




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            95 of 13422:20:14
                                                                      PageID #: Desc
                                                                                151
                    Exhibit Hearing Transcript Page 86 of 96
096                                                                             096

                                                                                       86

  1 two cases.       Nevertheless, I'm happy to sit for a deposition.

  2 However, I do think that the Court needs to define the scope of

  3 that.

  4                I would suggest that the scope of that has to do only

  5 with the allegations that are in the complaint and only with

  6 regard to things up to the petition date.

  7                I will represent to the Court that after the petition

  8 date my role in this case has been as special counsel to the

  9 Trustee.       Mr. Sprague has specifically mentioned, and this is

 10 something that came up before, and I'm happy to address it

 11 straight on if the Court wants to talk about it today, but this

 12 allegation of some sort of a kickback that the Trustee allowed

 13 or reduced, allowed a reduced claim to the Chase parties

 14 because the Chase parties entered into an order that provided

 15 that any remaining receivership, outstanding receivership fees,

 16 be paid by the Chase party.

 17                First of all, I wasn't involved in that order.

 18                Second of all, it's not been paid, so this is a

 19 complete non-issue.          Nonetheless, it keeps coming up, but it's

 20 not related to this adversary proceeding.                 That's related to,

 21 if at all, it's related to the claims allowance and

 22 disallowance.        That's not related to this adversary proceeding

 23 at all.

 24                And so I would just like the Court's guidance on what

 25 the allowable scope is of a deposition, you know, of me




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            96 of 13422:20:14
                                                                      PageID #: Desc
                                                                                152
                    Exhibit Hearing Transcript Page 87 of 96
097                                                                             097

                                                                                       87

  1 specifically, because that seems to be where some tension is

  2                THE COURT:     All right.      Mr. Spragens?

  3                MR. SPRAGENS:      In my experience, at least, it is

  4 unorthodox, to say the least, to have a case in which an

  5 attorney is negotiating the scope of his own deposition as a

  6 fact witness in the case.            So we are in a weird posture here.

  7 And I think that does speak to the potential for, you know,

  8 what we will want to ask Mr. Young about.

  9                He represented to me in the conference room that it's

 10 really just about the $750,000 or whatever, that 715,000,

 11 excuse me, in the receivership.              You know, I want to know what

 12 he knows about what's in the complaint.                He's disclosed himself

 13 effectively as a fact witness here.               I want to know how he's

 14 being compensated for things, because I think that goes to his

 15 bias.

 16                And I think that is a permissible area of inquiry is,

 17 do you stand to gain if you testify a certain way in this case

 18 or not?      And I think that's reasonable, both about the knowing

 19 about the Chase case and about his role here.

 20                I don't need to go into any confidential attorney-

 21 client communications, and I don't intend to.                  But I do think

 22 that, you know, we started this case, frankly, before I was

 23 involved, talking about a potential need for disqualification

 24 of Mr. Young.        And I do think that the fact that he's now

 25 disclosed himself as a witness, which surprised us, opens him




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            97 of 13422:20:14
                                                                      PageID #: Desc
                                                                                153
                    Exhibit Hearing Transcript Page 88 of 96
098                                                                             098

                                                                                       88

  1 up to inquiry on that.           And so certainly whatever he tells us

  2 he knows about that's in the case right now is going to be the

  3 bulk of what we talk about.

  4                But I do want to probe for bias.            I want to probe for

  5 any sort of improper motive.             It's awkward to do to a fellow

  6 member of the bar.          You know, we were just talking about our

  7 vacations and our hiking interests and all that stuff.                     But I

  8 think that's part of the job, and if he's going to be a witness

  9 and the lawyer here, I should be allowed to ask some of those

 10 questions.

 11                So I would urge the Court not to set a strict date

 12 cutoff, but, you know, admonish us to only stay within the

 13 boundaries of what's acceptable as we try to prepare an

 14 adversary trial in this court.

 15                THE COURT:     All right.

 16                And, Mr. Young, I think it is reasonable to probe

 17 into any of those issues that Mr. Spragens has articulated.

 18 So I will not bound the deposition to such limited scope that

 19 he can't inquire about your motive, motivation, or compensation

 20 in any way.

 21                Again I will caution that it better be relevant and

 22 stay relevant.        And as you've articulated today, that's within

 23 the fair bounds of what we do as lawyers is answer questions

 24 about why we're here, if we're ever in the position of being a

 25 witness, and it goes to credibility, it goes to motivation.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            98 of 13422:20:14
                                                                      PageID #: Desc
                                                                                154
                    Exhibit Hearing Transcript Page 89 of 96
099                                                                             099

                                                                                       89

  1 And so that's perfectly permissible.

  2                But what I do not want is an attempt to deviate in a

  3 way that's not going to be productive for anyone and just waste

  4 everybody's time.         Because, again, if we're going to waste

  5 people's time, that person wasting time will pay for that time.

  6 And I can't express how serious I am about charging back to the

  7 party who is causing the unnecessary delay or being

  8 unreasonable.

  9                Again, these are attorneys talking about attorneys

 10 and law firms.        And even Mr. Young, if he is a witness, he's

 11 another attorney.         So everyone involved in this case is a

 12 member of the bar in some form or fashion, and I expect a

 13 little bit of common sense and not to take the Court for not

 14 understanding what's going on if it deviates from that.                     And so

 15 just keep that in mind, all the parties that --

 16                Again, this is not rocket science.             This is the

 17 couple of thousand adversaries since I've been on the bench,

 18 and there's nothing in this case that I haven't seen before

 19 that surprises me or that I need to look up in WestLaw or

 20 Google to figure out how this is going to go.                  These are all

 21 issues that are fairly routine.

 22                I've got a Trustee over here who's been on the panel

 23 for more than 20 years and has handled thousands of cases and

 24 brought this adversary proceeding in the course of

 25 administering it as an estate, that's not unique or novel.




           ACCESS TRANSCRIPTS, LLC                  1-855-USE-ACCESS (873-2223)
 Case3:20-ap-90002
Case  3:22-cv-00474 Doc
                     Document
                         161-1 5-1    Filed
                                  Filed     08/04/22Entered
                                        05/05/22      Page 05/05/22
                                                            99 of 13422:20:14
                                                                      PageID #: Desc
                                                                                155
                    Exhibit Hearing Transcript Page 90 of 96
100                                                                           100

                                                                                      90

  1               So I understand we are all representing clients

  2 zealously, but by the same token, you're wasting your time on

  3 this forum that's going to be before a judge, not a jury,

  4 that's seen this a thousand times before, where we routinely

  5 stipulate to all the relevant facts, we proffer evidence more

  6 likely than we present witnesses.

  7 .             This Court is able to resolve these issues

  8 expeditiously if given the opportunity.               And so let's drive

  9 towards that opportunity for the Court to do what this Court

 10 does in fairly efficient fashion.

 11               MR. SPRAGENS:      We're eager to get to that point.               And

 12 there aren't side shows on our side.              We intend to get to the

 13 point where we can get an adjudication in this.

 14               THE COURT:     Okay.

 15               MR. SPRAGENS:      So I hear you.

 16               MR. YOUNG:     Your Honor, with that, I believe those

 17 are the only issues that we had open as far as the -- I think

 18 every thing else was agreed upon.             And we understood the

 19 Court's direction on everything else, as far as putting

 20 together an order.

 21               THE COURT:     All right.

 22               MR. YOUNG:     And I'm going to circulate it to Mr.

 23 Spragens before we submit it to the Court to make sure that --

 24               THE COURT:     All right.

 25               MR. YOUNG:     -- that everything is accurate.




           ACCESS TRANSCRIPTS, LLC                 1-855-USE-ACCESS (873-2223)
Case3:20-ap-90002
Case 3:22-cv-00474 Document
                    Doc 161-1 5-1Filed
                                    Filed 08/04/22Entered
                                       05/05/22     Page 100  of 13422:20:14
                                                          05/05/22   PageID #:Desc
                                                                               156
                   Exhibit Hearing Transcript Page 91 of 96
101                                                                           101

                                                                                     91

  1               THE COURT:     And the only thing, I've got a couple

  2 things.      On the depositions the order should detail the scope,

  3 because I don't want any surprises from any party who later

  4 says, well, I didn't know that's what was going to be asked.

  5 So within this order there needs to be some detail as to the

  6 scope of the depositions.

  7               MR. SPRAGENS:      We can do that, Your Honor.

  8               THE COURT:     All right.

  9               And as far as length of depositions, is it correct

 10 that you're anticipating an eight-hour deposition for the

 11 Trustee?

 12               MR. SPRAGENS:      No Your Honor.       I mean, I think that

 13 the rules only allow seven hours, and I hope not to even need

 14 all seven hours.        I never want to take a seven-hour deposition.

 15               THE COURT:     Okay.

 16               MR. SPRAGENS:      But I do think that the rules allow it

 17 if we need it, and hopefully we won't.

 18               THE COURT:     All right.

 19               And obviously with the contentious nature, make sure

 20 that that order specifically details the time in which the

 21 Trustee and all the other witnesses will be available for their

 22 deposition.       And if it's the full seven hours for each witness,

 23 so be it.      But I don't want any other issues related to

 24 discovery, so let's make sure that that order adequately

 25 details everything.




           ACCESS TRANSCRIPTS, LLC                 1-855-USE-ACCESS (873-2223)
Case3:20-ap-90002
Case 3:22-cv-00474 Document
                    Doc 161-1 5-1Filed
                                    Filed 08/04/22Entered
                                       05/05/22     Page 101  of 13422:20:14
                                                          05/05/22   PageID #:Desc
                                                                               157
                   Exhibit Hearing Transcript Page 92 of 96
102                                                                           102

                                                                                     92

  1               And I'd like it to be an agreed order.             So rather

  2 than just circulate it to Mr. Spragens, I want he and Mr.

  3 Gabbert to sign off on the order in its entirety.

  4               MR. SPRAGENS:      Yes, Your Honor.

  5               MR. YOUNG:     And, Your Honor, as I look at the biggest

  6 area of, sort of outstanding question marks about the order,

  7 it's what to do about this deposition.              I mean, we have

  8 different positions on my side here about when the Trustee's

  9 deposition should be taken.           So I'm looking for little

 10 guidance, probably, on what we should put in the order that

 11 says if there is a second deposition it will come at the

 12 requester's expense, unless good cause is shown, or something

 13 like that.

 14               Is that an appropriate way to phrase that?              I suppose

 15 that's what I'm asking.

 16               THE COURT:     Yeah. I'll leave it to you all to come up

 17 with the exact language.           But the intent is that the parties

 18 are agreeing to this.          We need to be efficient and effective.

 19 I'm not going to get into the weeds on who goes first, because

 20 if I have to do that, then I might as well be trying and

 21 representing your clients for you.

 22               But I am going to say that common sense needs to

 23 prevail here.        That, again, this isn't an IP case.

 24               MR. SPRAGENS:      Thank God.

 25               THE COURT:     I echo that sentiment.




           ACCESS TRANSCRIPTS, LLC                 1-855-USE-ACCESS (873-2223)
Case3:20-ap-90002
Case 3:22-cv-00474 Document
                    Doc 161-1 5-1Filed
                                    Filed 08/04/22Entered
                                       05/05/22     Page 102  of 13422:20:14
                                                          05/05/22   PageID #:Desc
                                                                               158
                   Exhibit Hearing Transcript Page 93 of 96
103                                                                           103

                                                                                     93

  1               You know, the Trustee needs -- you know, the goal

  2 should be to maximize the Trustee's ability to answer the

  3 questions.       And if taking the Trustee's deposition first is

  4 going to be a waste of time, which I would bet my money to a

  5 large extent it will be, then why are we doing it that way?

  6               And if you choose to go down that road, the party who

  7 made that choice is going to pay for that time for the

  8 attorney, or attorneys, that have to sit there for seven, eight

  9 hours, or however long it is, for the Trustee to then be in a

 10 position to answer those questions.

 11               So craft the language so that it's clear that -- I'm

 12 going to leave it to the parties to cause a train wreck if you

 13 want to.      But, you know, the party that led that train off the

 14 tracks is going to be the one that's going to compensate the

 15 other side for the time that it takes to actually do it right.

 16               You know, and unfortunately, the Trustee gets

 17 compensated based off of a formula and not actual time.                   But,

 18 you know, again, I'm not interested in wasting the Trustee's

 19 time twice, as well, on when they, you know, she could move on

 20 to other cases that are probably equally as frustrating and

 21 difficult to get resolution to.

 22               So those are the reasons why if you go down the wrong

 23 road you're going to, you know, whichever party drives it is

 24 going to be the one that compensates everyone in the room for

 25 their time.




           ACCESS TRANSCRIPTS, LLC                 1-855-USE-ACCESS (873-2223)
Case3:20-ap-90002
Case 3:22-cv-00474 Document
                    Doc 161-1 5-1Filed
                                    Filed 08/04/22Entered
                                       05/05/22     Page 103  of 13422:20:14
                                                          05/05/22   PageID #:Desc
                                                                               159
                   Exhibit Hearing Transcript Page 94 of 96
104                                                                           104

                                                                                     94

  1               MR. SPRAGENS:      Thank you, Your Honor.

  2               THE COURT:     Okay.

  3               MR. YOUNG:     Your Honor, I don't think we had any

  4 other questions or comments about the order, unless the Court

  5 has some other question for the Trustee.

  6               THE COURT:     No other questions.        But again, make sure

  7 it needs to be an agreed order, that it fully addresses

  8 everything we've talked about today.

  9               If there's any questions related to the dates that

 10 are already in the scheduling order, such as the dispositive

 11 motions or trial dates, we have not changed those.                  And I need

 12 to know now if the parties believe they're going to be unable

 13 to comply with those dates.           So within that order each party

 14 needs to certify that the remaining dates are still good to go.

 15               MR. SPRAGENS:      Yes, Your Honor.

 16               THE COURT:     All right.      And I think -- I think that's

 17 all I have.

 18               Anything else?

 19               MR. YOUNG:     Nothing from the Trustee, Your Honor.

 20               MR. SPRAGENS:      No, Your Honor.

 21               THE COURT:     All right.      Again, thank you for your

 22 time and attention.         And hopefully we'll get through this one

 23 in a more expeditious fashion going forward.

 24               But if there are issues, the Court is obviously

 25 available to address those issues.             But I still hold out




           ACCESS TRANSCRIPTS, LLC                 1-855-USE-ACCESS (873-2223)
Case3:20-ap-90002
Case 3:22-cv-00474 Document
                    Doc 161-1 5-1Filed
                                    Filed 08/04/22Entered
                                       05/05/22     Page 104  of 13422:20:14
                                                          05/05/22   PageID #:Desc
                                                                               160
                   Exhibit Hearing Transcript Page 95 of 96
105                                                                           105

                                                                                     95

  1 confidence that with the good lawyers involved in this case

  2 they'll be able to communicate a little bit better so that we

  3 cannot be here on St. Patrick's Day in 2023, perhaps.

  4               So with that said, the Court will be adjourned.

  5               THE CLERK:     All rise.

  6         (Proceedings concluded at 2:35 p.m.)

  7                                     * * * * *

  8

  9

 10

 11

 12

 13

 14                           C E R T I F I C A T I O N

 15

 16               I, Alicia Jarrett, court-approved transcriber, hereby

 17 certify that the foregoing is a correct transcript from the

 18 official electronic sound recording of the proceedings in the

 19 above-entitled matter.

 20

 21

 22

 23 ____________________________

 24 ALICIA JARRETT, AAERT NO. 428                DATE: March 23, 2022

 25 ACCESS TRANSCRIPTS, LLC




           ACCESS TRANSCRIPTS, LLC                 1-855-USE-ACCESS (873-2223)
Case
Case3:20-ap-90002
     3:22-cv-00474 Document
                    Doc 161-1 5-1Filed
                                    Filed
                                       05/05/22
                                          08/04/22Entered
                                                    Page 105
                                                          05/05/22
                                                              of 13422:20:14
                                                                     PageID #:Desc
                                                                               161
                   Exhibit Hearing Transcript Page 96 of 96
 106                                                                                   106



                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION



     IN RE:                                        Case No, 3:19-bk-07235
                                                   Chapter 7
     CUMMINGS MANOOKIAN, PLLC                      Judge Walker

          Debtor.                                  Adv. Proc. No. 3:20-ap-90002

     JEANNE ANN BURTON, TRUSTEE

          Plaintiff,

     v.

     HAGH LAW, PLLC; AFSOON
     HAGH; and MANOOKIAN PLLC,

          Defendants.



           BRIAN MANOOKIAN AND MANOOKIAN PLLC’S MOTION TO
            DISQUALIFY BANKRUPTCY JUDGE CHARLES WALKER


          Brian Manookian and Manookian PLLC (“the Manookian Parties”) respectfully ask

 the Court to recuse itself from further consideration of this matter, pursuant to 28 U.S.C.

 §§ 455(a), (b)(1), and the Code of Conduct for Federal Judges.

          The Court is required to disqualify itself from this matter because it engaged in

 multiple prohibited ex parte communications about Brian Manookian1 and this

 proceeding with “at least two [unidentified] lawyers” while this action has been pending.2


 1 Brian Manookian is the sole member of the Debtor, Cummings Manookian, and the Sole
 Member of the Defendant, Manookian PLLC.
 2 Ex. 1, Transcript of Pretrial Conference and Motion Hearing, March 17, 2022, at 84:15-

 85:11. On April 21, 2022, the Manookian Parties learned that the Trustee, through her


                                        1
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          106 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 162
                                                                                Main
                            Document      Page 1 of 11
 107                                                                                    107


        The Court then failed to promptly notify the parties of its repeated ex parte

 conversations as required by the Code of Conduct for United States Judges.3 Instead, the

 Court only disclosed their occurrence much later, and only then to justify the Court’s order

 that depositions in this matter be conducted at a secure courthouse location. In doing so,

 the Court attributed its order to unarticulated “concerns” about Brian Manookian which

 were communicated directly to the Court by undisclosed attorneys in various ex parte

 phone calls — buttressed by other information the Court gleaned from extrajudicial

 research — calls that neither the Court nor those attorneys disclosed to the Manookian

 Parties at the time.

        As a result, the Manookian Parties were never able to respond to the ex parte

 representations, or even make a record regarding those improper communications and

 independent research for review by a superior court. To this day, potentially years after

 the ex parte communications in this still-pending case, the Manookian Parties thus

 remain in the dark as to the substance of those prohibited communications, although

 their corrosive effect on the Court has recently become clear.

        The Court and the as-yet unidentified attorneys have, intentionally or not, engaged

 in conduct that violates multiple provisions of the Code of Conduct for United States

 Judges as well as the Rules of Professional Conduct governing attorneys licensed in

 Tennessee.4 Recusal is required by statute. See 28 U.S.C. § 455(a) & (b)(1).


 Special Counsel, has had at least one improper ex parte communication with the Court
 about Mr. Manookian. Ex. 2, Deposition of Phillip Young, at 43:15-45:25.
 3 Code of Conduct for United States Judges, Canon 3(A)(4).
 4 Id. See also Tennessee Supreme Court Rule 8, Rule of Professional Conduct 3.5,

 Impartiality and Decorum of the Tribunal (“A lawyer shall not: (a) seek to influence a
 judge, juror, prospective juror, or other official by means prohibited by law; [or] (b)
 communicate ex parte with such a person during the proceeding unless authorized to do
 so by law or court order.”).


                                        2
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          107 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 163
                                                                                Main
                            Document      Page 2 of 11
 108                                                                                   108


       This is not a close call. The Court is required to immediately disqualify itself from

 this case. The Court should additionally submit a sworn declaration detailing the dates,

 substance of, and parties to each of its ex parte communications so that the Manookian

 Parties may: (1) determine which orders of this Court occurred after the improper

 communications; (2) ascertain whether the Court is now a witness to party or creditor

 statements such that depositions of the ex parte participants is necessary; and (3) report

 any improper conduct to the appropriate licensing and oversight authorities.


                                I. LEGAL STANDARD

       Canon Three of the Code of Conduct for Federal Judges provides that the Court

 shall not permit ex parte communications, except in limited circumstances, and if such a

 communication is received, the Court must give all parties prompt notice of the

 communication and an opportunity to respond:

       Except as set out below, a judge should not initiate, permit, or consider ex
       parte communications or consider other communications concerning a
       pending or impending matter that are made outside the presence of the
       parties or their lawyers. If a judge receives an unauthorized ex parte
       communication bearing on the substance of a matter, the judge should
       promptly notify the parties of the subject matter of the communication and
       allow the parties an opportunity to respond, if requested. A judge may:

              (a) initiate, permit, or consider ex parte communications as
              authorized by law;

              (b) when circumstances require it, permit ex parte
              communication for scheduling, administrative, or emergency
              purposes, but only if the ex parte communication does not
              address substantive matters and the judge reasonably believes
              that no party will gain a procedural, substantive, or tactical
              advantage as a result of the ex parte communication;

              (c) obtain the written advice of a disinterested expert on the
              law, but only after giving advance notice to the parties of the



                                        3
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          108 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 164
                                                                                Main
                            Document      Page 3 of 11
 109                                                                                     109


               person to be consulted and the subject matter of the advice
               and affording the parties reasonable opportunity to object and
               respond to the notice and to the advice received; or

               (d) with the consent of the parties, confer separately with the
               parties and their counsel in an effort to mediate or settle
               pending matters.

 (emphasis added).

        The Tennessee Rules of Professional Conduct are likewise clear that attorneys may

 not engage in ex parte communications with the Court. Rule 3.5 states that, “A lawyer

 shall not seek to influence a judge, juror, prospective juror, or other official by means

 prohibited by law; [or] communicate ex parte with such a person during the proceeding

 unless authorized to do so by law or court order.”

        Finally, federal law mandates that “[a]ny justice, judge, or magistrate judge of the

 United States shall disqualify himself in any proceeding in which his impartiality might

 reasonably be questioned.” 28 U.S.C. § 455(a). This includes but is not limited to

 situations “[w]here he has a personal bias or prejudice concerning a party, or personal

 knowledge of disputed evidentiary facts concerning the proceeding.” Id. § 455(b)(1).

 Receiving, failing to disclose, and then ruling based upon improper ex parte

 communications and extrajudicial information in violation of the Federal Code of

 Conduct for Judges is, definitionally, conduct resulting in a judge’s impartiality

 reasonably being questioned.


                             II. FACTUAL BACKGROUND

        On March 17, 2022, counsel to the Trustee, Phillip Young, announced in a hearing

 that he sought to conduct depositions in this case exclusively at a “secured” location at the

 courthouse, because of a heretofore unrevealed “security issue” about Brian Manookian,


                                        4
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          109 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 165
                                                                                Main
                            Document      Page 4 of 11
 110                                                                                     110


 the sole member of the Debtor Cummings Manookian and the Adversary Defendant,

 Manookian PLLC.5 Counsel for Mr. Manookian and Manookian PLLC, John Spragens,

 immediately opposed the request, as did counsel for Adversary Defendants Afsoon Hagh

 and Hagh Law.6

        Rather than permit briefing or argument on the issue, the Court gratuitously and

 sua sponte began holding forth on what it described as the “100 pound gorilla in the room

 on that issue,” despite no such issue never having been previously addressed to the Court

 by any party (at least not properly or on the record). First, the Court – after undersigned

 counsel said he would preserve his objection to this departure from the ordinary course

 of proceedings for appeal – undertook to create an evidentiary record in support of his

 ruling.7 Next, the Court solicited a representation from the Trustee’s counsel to the effect

 that the Trustee’s counsel was “uncomfortable doing depositions in [defense counsel’s]

 office.” Finally, the Court described ex parte communications and offered its own view,

 based upon undisclosed information not in the record, purporting to justify that Mr.

 Manookian’s unspecified “past behavior” in front of “the tribunals” posed an undefined

 security threat:




 5 Ex. 1, Transcript of Pretrial Conference, March 17, 2022, at 83:21-25.
 6 Id., at Page 82:8-10.
 7 Id., at Page 82:8-83:13 (The Court: “So, Mr. Young, let’s articulate a basis on the

 record.”).


                                        5
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          110 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 166
                                                                                Main
                            Document      Page 5 of 11
 111                                                                                 111




 Ex. 1, Transcript of Pretrial Conference, at 84:11-23.

        In addition to admitting having participated in multiple ex parte conversations in

 this case, the Court additionally made reference to “[Brian Manookian’s] past behavior

 before the tribunals” when it ordered that depositions be conducted at the Courthouse

 over “security concerns” about Mr. Manookian. But the Court did not disclose what it

 believed that “past behavior” to include, or where it acquired such information.

        To be clear, Mr. Manookian has conducted or attended hundreds of depositions

 over the course of his career, including as a witness on multiple occasions. No court has

 ever found that he acted even remotely inappropriately, much less in a physically

 threatening manner, during a deposition — nor, crucially, does the record in this case

 support such a finding. The Court’s ruling could have only been based upon its ex parte

 communications and extrajudicial research – and its view was so deeply held that it


                                        6
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          111 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 167
                                                                                Main
                            Document      Page 6 of 11
 112                                                                                         112


 offered it sua sponte based upon an extrajudicial record the Court itself endeavored to

 create.

                                        III. ARGUMENT

           28 U.S.C. § 455(a) states that “[a]ny . . . judge . . . shall disqualify himself in any

 proceeding in which his impartiality might reasonably be questioned.” This recusal

 standard is objective: the relevant inquiry is whether a “reasonable man, were he to know

 all the circumstances, would harbor doubts about the judge’s impartiality.” Health Servs.

 Acquisition Corp. v. Liljeberg, 796 F.2d 796, 800 (5th Cir. 1986) (internal quotation

 marks omitted), aff’d, 486 U.S. 847 (1988); see Air Line Pilots Ass’n, Int'l v. Continental

 Airlines, Inc. (In re Continental Airlines Corp.), 901 F.2d 1259, 1262 (5th Cir. 1990); In

 re Faulkner, 856 F.2d 716, 720-21 (5th Cir. 1988).

           “Ex parte contacts are improper where, given all the circumstances, they could

 cause a reasonable person to question that judge’s impartiality.” Blixseth v. Yellowstone

 Mountain Club, LLC, 742 F.3d 1215, 1219 (9th Cir. 2014). And “decisions made by the

 district court in reliance on any undisclosed ex parte communications are inappropriate.”

 United States v. Lanier, 748 F. App’x 674, 678 (6th Cir. 2018) (citing United States v.

 Hayes, 171 F.3d 389, 390–91 (6th Cir. 1999)). “If any such communications do occur . . .

 the district court should endeavor to disclose, as appropriate, the ex parte communication

 to the parties as soon as possible.” Id. at 678.

           “Extrajudicial knowledge,” meanwhile, is knowledge that the judge acquires

 “outside a courthouse.” Edgar v. K.L., 93 F.3d 256, 259 (7th Cir. 1996) (citations

 omitted). “The point of distinguishing between ‘personal knowledge’ and knowledge

 gained in a judicial capacity is that information from the latter source enters the record

 and may be controverted or tested by the tools of the adversary process. Knowledge


                                        7
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          112 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 168
                                                                                Main
                            Document      Page 7 of 11
 113                                                                                   113


 received in other ways, which can be neither accurately stated nor fully tested, is

 ‘extrajudicial.’ ” Id.

        The Court’s repeated ex parte communications with practicing attorneys regarding

 this case and the parties to it – which were not disclosed at the time and only revealed by

 the Court to support a subsequent ruling, when the Court spontaneously revealed its

 concern about the “100 pound gorilla in the room on that issue” – require recusal. Indeed,

 the Court’s ruling requiring that depositions be conducted in the courthouse was

 expressly premised upon concerns the Court developed based upon (1) ex parte

 communications about Mr. Manookian that Mr. Manookian had no knowledge of, nor any

 opportunity to rebut, and (2) the Court’s views about “Mr. Manookian’s past behavior

 before the tribunals” – again unspecified, and again, based upon information outside the

 record in this case. 8

        A reasonable observer would conclude that the Court has developed views of a

 litigant, based upon improper ex parte communications and information outside the

 record in this case, and – however unintentionally – has made a ruling based on those

 concerns. On any objective basis, recusal is appropriate and required, and is the course

 of action that best promotes respect for the rule of law.

        The Court’s statements confirm that it has entertained ex parte communications,

 failed to disclose those communications to the impacted parties, conducted its own


 8 The Court’s views were so strongly – and mistakenly – held that it took a second
 unusual step, not just requiring that the depositions be held in the courthouse but also
 leaving instructions for the participants and setting a time for hearings on objections (a
 copy of which is attached as Exhibit 3). The depositions were predictably uneventful
 and conducted professionally by all parties, and no objections were brought to the
 Court. But the Court’s overreaction to an ill-defined threat of misconduct based on not
 even a scintilla of record evidence, considered by a reasonable observer, further
 demonstrates that recusal is warranted here.


                                        8
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          113 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 169
                                                                                Main
                            Document      Page 8 of 11
 114                                                                                   114


 independent investigation into a litigant in this case, and has – most troublingly – formed

 impressions and opinions based upon the information gained in those improper

 exercises, relying on them in its rulings and approach to this case.

        Of particular concern, the Court’s multiple ex parte communications pertained to

 the character of a witness that, in the Court’s view, “holds the keys to the kingdom,”

 because – as the Court put it in partially denying the Manookian Parties’ motion to compel

 discovery responses from the Trustee – the key knowledge in the case concerning the

 Trustee’s allegations “is locked away deep inside Mr. Manookian's brain somewhere.”9

 The Court emphasized Mr. Manookian’s centrality to the case, volunteering that “while

 he’s under oath he will enlighten the Trustee and the other parties on exactly what

 happened,” enabling the Trustee to learn details about the allegations in her Complaint.10

 When in response to the Court, undersigned counsel stated that it was “certainly the

 Trustee’s theory” that Mr. Manookian holds the “keys to the kingdom,” the Court

 corrected counsel, stating, “It’s not a theory, Mr. Spragens,” and explaining that the

 Trustee could not be expected to provide further information about her adversary

 proceeding allegations because she merely stepped into “save the estate for the benefit of

 creditors based off the actions of the people who put it in bankruptcy.”11

        Taken together, these comments indicate that the Court has developed “concerns”

 that it takes “very seriously” about whether Mr. Manookian can attend a deposition at

 counsel’s office without some unspecified harm occurring. The Court has formed the view

 that Mr. Manookian is the key witness whose testimony will unlock the case when he is



 9 Ex. 1, Transcript of Pretrial Conference, at 49:2-16.
 10 Id.
 11 Id.



                                        9
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                       05/05/22
                                                          114 of22:20:14
                                                                 134 PageID
                                                                          Desc
                                                                            #: 170
                                                                                Main
                            Document      Page 9 of 11
 115                                                                                     115


 put under oath, and it has also determined that he poses a threat to other individuals or

 the orderly proceeding of the case, such that he cannot be trusted to attend or give a

 deposition at counsel’s office. Those concerns are based exclusively upon ex parte

 communications and the Court’s own investigation into, and extrajudicial impressions

 formed about, this key witness in the case. Under these circumstances, where the Court

 is both law-giver and factfinder, the Court should, consistent with principles of fair

 dealing and judicial neutrality, recuse itself so another judge can preside over this case.

        The Court’s undisclosed ex parte communications and consideration of extrinsic

 information, all of which explicitly formed the basis of its ruling, are not the kinds of

 innocuous ex parte communications allowed under the Federal Rules. See, e.g., Blixseth,

 742 F.3d 1215 at 1219-20 (permitting ex parte communications regarding scheduling and

 a non-public bankruptcy auction). Instead, the communications and extrinsic evidence

 are relevant to the material disputed issues in the case and its forthcoming findings about

 the credibility of a material witness whom the Court believes holds the “keys to the

 kingdom” in this case.

        In short, the Court’s failure to promptly disclose the occurrence of ex parte

 communications, lack of disclosure about the total substance of, and participants to, those

 conversations, undertaking of an independent investigation into this matter, and reliance

 upon both ex parte communications and extrajudicial research require immediate

 recusal. It further requires full disclosure of the circumstances and substance of the ex

 parte communications and extrajudicial materials considered by the Court.

                                    IV. CONCLUSION

        For all these reasons, the Court is required to immediately disqualify itself.

 Moreover, the Court should promptly submit a sworn declaration detailing the dates,


                                        10
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      05/05/22
                                                         115 of22:20:14
                                                                134 PageID
                                                                         Desc
                                                                           #: 171
                                                                               Main
                            Document     Page 10 of 11
 116                                                                                   116


 substance of, and parties to each of its ex parte communications as well as the particulars

 of its independent investigation.


 Date: May 5, 2022                                Respectfully submitted,


                                                  /s/ John Spragens
                                                  John Spragens (TN Bar No. 31445)
                                                  Spragens Law PLC
                                                  311 22nd Ave. N.
                                                  Nashville, TN 37203
                                                  T: (615) 983-8900
                                                  F: (615) 682-8533
                                                  john@spragenslaw.com

                                                  Attorney for Manookian PLLC and
                                                  Brian Manookian




                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed May 5, 2022 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                  /s/ John Spragens




                                        11
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         161 Filed
                               5-1 05/05/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      05/05/22
                                                         116 of22:20:14
                                                                134 PageID
                                                                         Desc
                                                                           #: 172
                                                                               Main
                            Document     Page 11 of 11
 117                                                                                                  117


       Dated: 5/11/2022


                      IN THE UNITED STATTES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 IN RE:                                    )
                                           ) Case No: 3:19-bk-07235
 Cummings Manookian, PLLC,                 ) Chapter 7
                                           ) Honorable Charles M. Walker
              Debtor.                      )
 __________________________________________)
                                           )
 Jeanne Ann Burton, Trustee,               )
                                           )
              Plaintiff,                   )
                                           )
        v.                                 ) Adv. Proceeding: 3:20-ap-90002
                                           )
 Hagh Law, PLLC; Afsoon Hagh; and          )
 Manookian PLLC,                           )
                                           )
              Defendants.                  )
 __________________________________________)

                  ORDER SETTING RESPONSE/OBJECTION DEADLINE
                           AND SCHEDULING HEARING
                  ON MOTION TO DISQUALIFY BANKRUPTCY JUDGE

          THIS MATTER is before the Court on the motion to disqualify filed on May 5, 2022,
 located at Docket Entry #161. The Court being duly advised,
          IT IS HEREBY ORDERED that:
    (1) All responses/objections and filings related to the motion shall be filed no later than
          May 27, 2022.
    (2) An evidentiary hearing is set for presentation of the motion on June 29, 2022, at 1:00
          p.m.
    (3) All parties and/or counsel must appear in person at the above scheduled date and time at
          Courtroom 2, Second Floor, Customs House, 701 Broadway, Nashville, Tennessee.
    (4) Presentation of evidence is subject to applicable Federal and Local Rules.

                      THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                              INDICATED AT THE TOP OF THE FIRST PAGE
                                                                       This Order has been electronically
                                                                       signed. The Judge's signature and
                                                                       Court's seal appear at the top of the
                                                                       first page.
                                                                       United States Bankruptcy Court.

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         165 Filed
                               5-1 05/11/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      05/11/22
                                                         117 of15:51:38
                                                                134 PageID
                                                                         Desc
                                                                           #: 173
                                                                               Main
                            Document      Page 1 of 1
 118                                                                                  118



                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION



  IN RE:                                          Case No, 3:19-bk-07235
                                                  Chapter 7
  CUMMINGS MANOOKIAN, PLLC                        Judge Walker

        Debtor.                                   Adv. Proc. No. 3:20-ap-90002

  JEANNE ANN BURTON, TRUSTEE

        Plaintiff,

  v.

  HAGH LAW, PLLC; AFSOON
  HAGH; and MANOOKIAN PLLC,

        Defendants.



         NOTICE OF DEPOSITION OF JUDGE CHARLES M. WALKER


       Pursuant to Federal Rules of Bankruptcy Procedure 7026 and 7030, Manookian

 PLLC, by and through the undersigned counsel, respectfully gives notices that it will take

 the deposition of Judge Charles M. Walker on June 15, beginning at 10:00 a.m. Central

 time at 701 Broadway, Suite 260 Nashville, TN 37203. The deposition will be taken before

 a person authorized by law to administer oaths and will continue from day-to-day until

 the examination is complete. The depositions will be recorded by any means authorized

 by Fed. R. Civ. P. 30(b)(3), pursuant to Fed. Fed. R. Bankr. P. 7030, including

 audiovisually and stenographically.




                                        1
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         177 Filed
                               5-1 05/31/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      05/31/22
                                                         118 of19:30:32
                                                                134 PageID
                                                                         Desc
                                                                           #: 174
                                                                               Main
                            Document      Page 1 of 2
 119                                                                                      119


        The topics to be addressed are all non-privileged, relevant information; including,

 but not limited to, (1) Judge Walker and his staff’s communications about this matter with

 third parties outside of court proceedings and (2) Judge Walker and his staff’s

 investigation into this matter, the parties, or witnesses outside of the Court record.

 Date: May 31, 2022                               Respectfully submitted,


                                                  /s/ John Spragens
                                                  John Spragens (TN Bar No. 31445)
                                                  Spragens Law PLC
                                                  311 22nd Ave. N.
                                                  Nashville, TN 37203
                                                  T: (615) 983-8900
                                                  F: (615) 682-8533
                                                  john@spragenslaw.com

                                                  Attorney for Manookian PLLC and
                                                  Brian Manookian


                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed May 31, 2022 and
 served electronically via upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                   /s/ John Spragens




                                        2
Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         177 Filed
                               5-1 05/31/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      05/31/22
                                                         119 of19:30:32
                                                                134 PageID
                                                                         Desc
                                                                           #: 175
                                                                               Main
                            Document      Page 2 of 2
 120                                                                                           120


       Dated: 7/25/2022
                   IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 IN RE:                              )
                                     )           Case No: 3:19-bk-07235
 Cummings Manookian, PLLC,           )           Chapter 7
              Debtor                 )           Honorable Charles M. Walker
 ____________________________________)
                                     )
 Jeanne Ann Burton,                  )
              Plaintiff              )
                                     )
        v.                           )           Adversary: 3:20-ap-90002
                                     )
 Hagh Law, PLLC,                     )
 Afsoon Hagh,                        )
 Manookian, PLLC, and                )
              Defendants             )
 ____________________________________)


       ORDER DENYING DEFENDANTS’ MOTION FOR ENTRY OF UNOPPOSED
                   SUMMARY JUDGMENT ON ALL CLAIMS

          Defendants, Hagh Law, PLLC, Afsoon Hagh, and Manookian, PLLC, have moved this

 Court for entry of unopposed summary judgment in their favor (See Dkt. #203, hereinafter

 “Motion”) as to all claims contained in the adversary complaint in advancement of their motion

 for summary judgment (Dkt. #188) filed June 24, 2022. For the reasons stated below, the Motion

 is DENIED.

                                        Procedural Posture

          This adversary proceeding was filed on January 8, 2020, by Jeanne Ann Burton, the

 Chapter 7 Trustee in the underlying bankruptcy proceeding of Debtor Cummings Manookian,

 PLLC, a now defunct law firm. (Dkt. #1). The complaint filed by the trustee put forward seven

 claims for relief; conversion, state law fraudulent transfer, avoidance and recovery of fraudulent



                                                                                                      1

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         120 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 176
                                                                               Main
                            Document      Page 1 of 8
 121                                                                                                    121


 transfers, tortious interference with contract, successor liability and alter ego, turnover, and

 declaratory judgement.

           On May 5, 2022, Manookian, PLLC and Brian Manookian, a non-party to this

 proceeding, entered a Motion to Disqualify Bankruptcy Judge Charles M. Walker. (Dkt. # 161).

 In support of this motion, Defendant Manookian, PLLC entered a Notice of Deposition of Judge

 Charles M. Walker seeking testimony related to the circumstances alleged to provide grounds for

 recusal. (Dkt. #177). The Court entered an Order Quashing Notice of Deposition on June 1,

 2022. (Dkt. #178). Brian Manookian and Manookian, PLLC appealed this Order to the United

 States District Court on June 14, 2022. (Dkt. #184). The matter currently remains pending on

 appeal.

           On June 24, 2022, subsequent to the filing of the appeal, Defendants filed the

 aforementioned Motion for Summary Judgment, seeking summary judgment on all seven claims.

 (Dkt. #188). To date, the Plaintiff has filed no response to the Motion for Summary Judgment.

 The Motion for Recusal was set for hearing on June 29, 2022. At that time, the Court read a

 statement into the record wherein the effect of the appeal on the jurisdiction of this Court was

 acknowledged:

           Based on the pendency of the appeal in the United States District Court for the
           Middle District of Tennessee, this Court is divested of jurisdiction over aspects of
           the case subject to the appeal. Here, the appeal is from an Order Quashing a
           Deposition request in furtherance of a Motion to Disqualify the judge. The appeal
           is directly related to the issue of this judge’s ability to render judgement in this case.

           Statement of the Honorable Charles M. Walker read into the record on June 29,
           2022, at hearing (See Exhibit A incorporated herein).

           On July 15, 2022, Defendants filed the instant Motion for Entry of Summary Judgement

 on All Claims and a proposed order.




                                                                                                          2

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         121 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 177
                                                                               Main
                            Document      Page 2 of 8
 122                                                                                                122


                                               Discussion

                 “A federal district court and a federal court of appeals should not attempt to
         assert jurisdiction over a case simultaneously. The filing of a notice of appeal is an
         event of jurisdictional significance – it confers jurisdiction on the court of appeals
         and divests the district court of its control over those aspects of the case involved
         in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982).

         “This transfer of power, however, does not effect a total divestiture of jurisdiction from the

 district court: it retains jurisdiction to enforce its judgment, to proceed with matters that will aid

 the appellate process, and to adjudicate matter unrelated to the issues on appeal.” Williamson v.

 Recovery Ltd. P’ship, 731 F.3d 608, 626 (6th Cir. 2013) (citations omitted). The limited

 jurisdiction which a district court retains to take actions in aid of an appeal is a “narrowly defined”

 class of actions, which “does not include actions that alter the case on appeal”. United States v.

 Carman, 933 F.3d 614, 617 (6th Cir. 2019) (internal quotations omitted). See also United States

 v. Gallion, 534 Fed. Appx. 303, 310 (6th Cir. 2013) (“[T]he test of whether an issue is collateral

 to a claim on appeal, and therefore whether a district court may retain jurisdiction . . . considers

 whether the action by the district court would alter the status of the case as it rests before the Court

 of Appeals”.)(citation omitted) “Any action of the district court pertaining to matters involved in

 the appeal is null and void and will be vacated”. Kelley v. St. Paul Fire & Marine Ins. Co., No. 87-

 1639, 1988 U.S. App. LEXIS 11765 at *8 (6th Cir. Aug. 29, 1988).

         It is well settled law that entry or alteration of a judgment, including summary judgment,

 alters the status of a case such that it disturbs a matter on appeal. See Knutson v. AG Processing,

 Inc., 302 F.Supp.2d 1023, 1030 (N.D. Iowa 2004)(citing Dayton Indep. Sch. Dist. v. U.S. Mineral

 Prods. Co., 906 F.2d 1059, 1063 (5th Cir. 1990))(rev’d on other grounds, Knutson v. AG

 Processing, Inc., 394 F.3d 1074 (8th Cir. 2005)). See also Landman v. Mitchell, 445 F.2d 274, 275

 (5th Cir. 1971) (observing that a party’s filing of an appeal divested the district court of jurisdiction

 to enter any order on that party’s subsequent motion for summary judgment); United States v.
                                                                                                        3

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         122 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 178
                                                                               Main
                            Document      Page 3 of 8
 123                                                                                               123


 Brown, 17 Fed. Appx. 367, 368–69 (6th Cir. 2001) (declaring that a district court did not have

 jurisdiction to address a motion to dismiss an indictment pending an appeal); Inland Bulk Transfer

 Co. v. Cummins Engine Co., 332 F.3d 1007, 1013 (6th Cir. 2003) (emphasizing a distinction

 “between actions that merely aid the appellate process and actions that alter the case on appeal”);

 United States v. Holloway, 740 F.2d 1373, 1382 (6th Cir. 1984) (declaring that a district court

 lacked jurisdiction to alter the status of a sentence while an appeal was pending). N.L.R.B. v.

 Cincinnati Bronze, Inc., 829 F.2d 585, 588 (6th Cir. 1987) (“[A] district court may not alter or

 enlarge the scope of its judgment pending appeal”); United States v. Harvey, 996 F.3d 310, 313

 (6th Cir. 2021) (determining that a district court could not issue an opinion after an appeal had

 been filed); United States v. Sutton, 573 Fed. Appx. 560, 562 (6th Cir. 2014) (filing of an appeal

 removed the district court’s jurisdiction to enter a judgment); Washington v. Kelly, No. 1:05-CV-

 577, 2009 WL 233711 at *3 (N.D. Ohio Jan. 30, 2009) (declaring that a pending appeal removed

 the court’s jurisdiction to consider either a motion for default judgment or a motion to disqualify

 the judge).

        The appeal in this case is directly related to the ability of this Court to continue adjudication

 of this matter, and an entry of summary judgment would clearly alter the status of matters involved

 in the appeal. Therefore, because this Court lacks jurisdiction at this time to adjudicate the relief

 requested in the Motion and for the reasons stated in this Court’s statement read into the record at

 the June 29, 2022, hearing (See attached Exhibit A incorporated herein), the Motion for Entry of

 Unopposed Summary Judgment on All Claims (Dkt. #203) is DENIED.



                      THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                              INDICATED AT THE TOP OF THE FIRST PAGE




                                                                                                       4

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         123 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 179
                                                                               Main
                            Document      Page 4 of 8
 124                                                                         124




                 EXHIBIT A




                                                                                5

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         124 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 180
                                                                               Main
                            Document      Page 5 of 8
 125                                                                                              125


                         Burton v Hagh, et al                    20-ap-90002

                          Statement Read Into the Record June 29, 2022

        On June 14, 2022, Defendant, Manookian PLLC and a member of that Defendant – a

 non-party to this proceeding - Brian Manookian, filed a Notice of Appeal and Statement of

 Election from this Court’s June 1, 2022, Order Quashing the Notice of Deposition of Charles M.

 Walker, the judge assigned to the adversary, following the filing of a Motion to Disqualify the

 bankruptcy judge assigned this case.

        Based on the pendency of the appeal in the United States District Court for the Middle

 District of Tennessee, this Court is divested of jurisdiction over aspects of the case subject to the

 appeal. Here, the appeal is from an Order Quashing a Deposition request in furtherance of a

 Motion for Disqualify the judge. The appeal is directly related to the issue of this judge’s ability

 to render judgment in this case.

        On the filing of a timely notice of appeal, the lower court is “[divested] of its control over

 those aspects of the case involved in the appeal” and the appellate court assumes jurisdiction.

 Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982). Once the appeal has been

 filed the court cannot take any action that would “alter the status of the case as it rests before the

 Court of Appeals”. Knutson v. AG Processing, Inc., 302 F.Supp.2d 1023, 1029 (N.D. Iowa 2004)

 (citing Dayton Indep. Sch. Dist. V. U.S. Mineral Prods. Co., 906 F.2d 1059, 1063 (5th Cir.

 1990))(rev’d on other grounds, Knutson v. AG Processing, Inc., 394 F.3d 1074 (8th Cir. 2005)).

        The Defendants have filed a Motion for Summary Judgment. Summary Judgement is

 considered among those action that are impermissible for a lower court to adjudicate as it would

 disturb the case before the appellate court. Considering that the Defendants seek a ruling on

 summary judgement on all claims, it follows that any ruling on such a motion would disturb the



                                                                                                        6

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         125 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 181
                                                                               Main
                            Document      Page 6 of 8
 126                                                                                                126


 case as it sits before the appellate court. Allan Ides, The Authority of a Federal District Court to

 Proceed After a Notice of Appeal has Been Filed, 143 F.R.D. 307, 308 (1992). See also,

 Landman v. Mitchell, 445 F.2d 274, 275 (5th Cir. 1971)(upholding a District Court’s decision to

 enter no order on a motion for summary judgement that was filed three weeks after a notice of

 appeal due to lack of jurisdiction).

        The Plaintiffs have filed an Expedited Motion for Status Conference and this Court has

 entered an Order setting that Conference, as well as a deadline to reply to the motion. Although

 the Court lacks jurisdiction to entertain any proceedings in this case that implicate the issues

 presented by the pending appeal, the Court retains limited authority to address ministerial affairs

 such as the evidentiary housekeeping issues present by the pending motion for a status

 conference, which has no bearing on the disposition of the appeal. “The filing of a notice of

 appeal is an event of jurisdictional significance — it confers jurisdiction on the court of appeals

 and divests the district court of its control over those aspects of the case involved in the appeal.”

 Citing the Griggs case at P.58. “It is generally understood that a federal district court and a

 federal court of appeals should not attempt to assert jurisdiction over a case simultaneously.”

 Ibid. However, in certain circumstances limited power is retained to address aspects of the case

 not involved in the appeal, when the court's action “do[es] not threaten the orderly disposition of

 the interlocutory appeal.” Sanford v. Russell, 2019 WL 12074092, at *1 (E.D. Mich. June 4,

 2019) (citations omitted). This Court therefore, may issue the scheduling of evidentiary motions,

 but will not rule on those issues pending the appellate process as such scheduling will not affect

 any rights at stake in the pending appeal. Pretrial and Status Conference are set for July 13, 2022,

 at 11:00 a.m. in person in this Courtroom.




                                                                                                         7

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         126 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 182
                                                                               Main
                            Document      Page 7 of 8
 127                                                                                                  127


         Therefore, given the issue on appeal, all matters before this Court are stayed pending the

 appeal. Ruling on discovery issues is stayed as well, except that the scheduling order entered

 regarding the Motion for Status Conference remains in effect. Moreover, the Court notes that the

 appeal is from one order of this Court and does not serve to disturb orders previously entered in

 this case.




                                                                       This Order has been electronically
                                                                       signed. The Judge's signature and
                                                                                                           8
                                                                       Court's seal appear at the top of the
                                                                       first page.
                                                                       United States Bankruptcy Court.

Case
  Case
     3:20-ap-90002
       3:22-cv-00474 Doc
                      Document
                         213 Filed
                               5-1 07/25/22
                                    Filed 08/04/22
                                              Entered
                                                    Page
                                                      07/25/22
                                                         127 of16:25:56
                                                                134 PageID
                                                                         Desc
                                                                           #: 183
                                                                               Main
                            Document      Page 8 of 8
128                                                                                              128


                      UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

IN RE: CUMMINGS MANOOKIAN, PLLC,                       )
                                                       )
               Debtor                                  )
                                                       )
BRIAN MANOOKIAN,                                       )
                                                       )
               Appellant                               )
                                                       )
       v.                                              )       No: 3:21-cv-00797
                                                       )
JEANNE ANN BURTON, TRUSTEE,                            )
                                                       )
               Appellee.                               )


                           MEMORANDUM OPINION AND ORDER

       This bankruptcy appeal presents the question of whether the Bankruptcy Court applied the

correct legal standard in determining that the debtor lacked standing to challenge a proposed

settlement agreement. Because the Court finds that it did not, the settlement agreement will be

vacated and this case will be returned to the Bankruptcy Court for further proceedings.

                                                  I.

       Brian Manookian, the appellant herein, filed a voluntary petition for Chapter 7 relief on

behalf of the debtor, Cummings Manookian, PLC, a defunct Tennessee law firm. Jeanne Ann

Burton, the appellee herein, was appointed to serve as the Chapter 7 Trustee for the estate of

Cummings Manookian, PLC. Burton, in turn, sought to employ Thompson Burton, PLLC as special

counsel, ostensibly because Phillip Young, a member of that firm, had been serving as receiver for

the collection of the Debtor’s accounts receivable in a state court action that was pending at the time

the bankruptcy petition was filed. Over appellant’s objection that such employment would create a




   Case
 Case   3:21-cv-00797Document
      3:22-cv-00474    Document
                              5-111 Filed
                                     Filed08/04/22
                                           03/07/22 Page
                                                     Page128
                                                          1 ofof7134
                                                                  PageID #: 1326
                                                                     PageID  #: 184
129                                                                                             129


conflict of interest, the Bankruptcy Court approved the employment of Thompson Burton.

       At issue on this appeal is Claim 5, or the Chase Claim, which is the largest claim brought

against the estate. This is an unsecured claim filed by Dean Chase, Sandra Chase, and D.F. Chase,

Inc. (“the Chase Parties” or “the Chase Claims”) that arose from a sanctions judgment issued by

Williamson County Circuit Court Judge Michael Binkley worth somewhere in the neighborhood of

$750,000 to $800,000, with appellant putting the figure at $748,769.21 (which may have been the

amount of sanctions imposed by the judge) and the appellee placing the figure at $806,927.04 (which

may have been the entire amount listed in Claim 5). Regardless, the sanctions judgment was vacated

by the Tennessee Court of Appeals because the trial judge harbored animus against Manookian. The

appeals court also ordered a “retroactive recusal,” and remanded the case for further proceedings

before a different trial judge. Chase v. Stewart, No. M201801991COAR3CV, 2021 WL 402565,

at *6 (Tenn. Ct. App. Feb. 4, 2021).

       The Bankruptcy Trustee agreed to settle the Chase Claim for $250,000, and that decision was

approved by the Bankruptcy Judge. The propriety of the decision by the Trustee to settle the claim,

however, is disputed by the parties.

       The Trustee claims that the decision to settle was straight-forward. At the time the Petition

in bankruptcy was filed, the sanctions judgment was on appeal, but the underlying case was not

stayed, making the Chase Claim “valid and enforceable.” (Doc. No. 9 at 7). Even though the

sanctions judgment was later vacated by the state appellate court, a new judge would have to

determine whether sanctions were appropriate. “In the face of th[is] uncertainty,” the Trustee

decided to settle the Chase Claim for a fraction of its value in order to “reduce[] the potential

exposure of the estate,” and “allow[] the estate to avoid lengthy and costly ongoing litigation.” (Id.


                                                  2


 Case
   Case
      3:22-cv-00474
        3:21-cv-00797Document
                       Document
                              5-111 Filed
                                     Filed08/04/22
                                           03/07/22 Page
                                                     Page129
                                                          2 ofof7134
                                                                  PageID
                                                                     PageID
                                                                         #: 1327
                                                                             #: 185
130                                                                                             130


at 8).

         Manookian presents a much more nefarious scenario. According to him, while the sanction

judgment was on appeal in the state court, the Chase Parties filed a collections action in the

Williamson County Chancery Court to create a receivership over Cummings Manookian's accounts

receivable. Phillip Young, the same attorney who would later be appointed special counsel to the

bankruptcy Trustee, was appointed as a receiver to collect on the judgment, and he immediately

began placing liens on Cummings Manookian's receivables and levying on them as they came due.

Young allegedly collected, and paid to himself, tens of thousands of dollars owed to Cummings

Manookian, and instituted adversary proceedings against it.

         After the appeals court issued its opinion vacating the sanctions judgment, the Chase Parties

sought rehearing. Two days after that request was denied, the Chase Parties sent a settlement letter

to Manookian’s counsel, offering to “walk-away” from their claim in exchange for “no payment”

and the signing of mutual releases. (Doc. No. 5 at 8). Days later, however, the Chase Parties “sua

sponte and gratuitously announced they had agreed to pay all of Phillip Young’s outstanding fees

in the State Collections action.” (Id. at 9). Shortly thereafter, Young, on behalf of the Bankruptcy

Trustee, oddly proposed to pay the Chase Parties $250,000 as settlement for their claims, a vastly

different outcome from the “walk away” settlement originally proposed.

         It was against this backdrop that the Bankruptcy Court was presented with the Trustee’s

Motion to Approve Compromise and Settlement of the Chase Claim. The Bankruptcy Court held

a bifurcated hearing on September 29, 2021. During the first phase, the issue of whether Manookian

had standing to object to the proposed settlement was addressed, and the Bankruptcy Court found



                                                  3




   Case
 Case   3:21-cv-00797Document
      3:22-cv-00474    Document
                              5-111 Filed
                                     Filed08/04/22
                                           03/07/22 Page
                                                     Page130
                                                          3 ofof7134
                                                                  PageID #: 1328
                                                                     PageID  #: 186
131                                                                                             131


that he did not. During the second phase, the Bankruptcy Court considered the settlement motion

and an objection that had been filed by attorney John R. Konvalinka. Ultimately, the Bankruptcy

Court found that “[t]he Trustee properly exercised her business judgment in reaching the proposed

settlement of the Claim filed by the Chase Parties as proposed in the Settlement Motion,” and

approved the proposed settlement. (Doc. No. 1-3 at 3). Whether the Bankruptcy Court committed

legal error in ruling that Manookian lacked standing is the subject of the appeal.

                                                 II.

       On appeal from the bankruptcy court, findings of fact are reviewed under the clearly

erroneous standard, while conclusions of law are reviewed de novo. Rogan v. Bank One, N.A. (In

re Cook), 457 F.3d 561, 565 (6th Cir. 2006). “ Furthermore, when a question in the bankruptcy

context involves a mixed question of law and fact, [the court] must break it down into its constituent

parts and apply the appropriate standard of review for each part.” In re Am. HomePatient, Inc., 420

F.3d 559, 563 (6th Cir. 2005) (quoting Wesbanco Bank Barnesville v. Rafoth (In re Baker & Getty

Fin. Servs., Inc.), 106 F.3d 1255, 1259 (6th Cir.1997).

       “A trustee in bankruptcy has the authority to seek a settlement of claims available to the

debtor, but any proposed settlement is subject to the approval of the bankruptcy court, which enjoys

‘significant discretion.’” In re MQVP, Inc., 477 F. App’x 310, 312–13 (6th Cir. 2012) (citing Fed.

R. Bankr. P. 9019(a); In re Rankin, 438 F. App’x. 420, 426 (6th Cir.2011)). “When determining

whether to approve a proposed settlement, the bankruptcy court may not rubber stamp the agreement

or merely rely upon the trustee’s word that the settlement is reasonable,” but instead is under “an

affirmative obligation to apprise itself of the underlying facts and to make an independent judgment



                                                  4




 Case
   Case
      3:22-cv-00474
        3:21-cv-00797Document
                       Document
                              5-111 Filed
                                     Filed08/04/22
                                           03/07/22 Page
                                                     Page131
                                                          4 ofof7134
                                                                  PageID
                                                                     PageID
                                                                         #: 1329
                                                                             #: 187
132                                                                                               132


as to whether the compromise is fair and equitable.” Id. (citing Reynolds v. C.I.R., 861 F.2d 469, 473

(6th Cir.1988)).

        In finding that Manookian did not have standing to contest the proposed settlement, the

Bankruptcy Court orally ruled:

        Mr. Manookian, to date, has not offered any concrete evidence, and I'll use that same
        word that Mr. Young has used, that this is a surplus case. What has been shown is
        there are many variables. As I've already mentioned, that go into determining the
        exact monetary value of bankruptcy estate.

        In this instance, the burden was on Mr. Manookian to produce something tangible
        and concrete that the Court could rely on in making a determination that the [sic] it’s
        a high likelihood that this case would be a surplus case.

(Doc. No. 4-1, Hearing Transcript at 53-54) (emphasis added). This was legal error because it placed

too heavy a burden on Manookian to establish standing.

        “[T]he standing question is purely a legal one,” Moran v. LTV Steel Co. (In re LTV Steel

Co.), 560 F.3d 449, 452 (6th Cir.2009), and in the bankruptcy context only those that “are adversely

affected pecuniarily” have standing, In re Moran, 566 F.3d 676, 680 (6th Cir. 2009). “Debtors,

particularly Chapter 7 debtors, rarely have such a pecuniary interest because no matter how the

estate’s assets are disbursed by the trustee, no assets will revert to the debtor.” In re Lunan, 523 F.

App’x 339, 340 (6th Cir. 2013) (citing Cult Awareness Network, Inc. v. Martino (In re Cult

Awareness Network, Inc.), 151 F.3d 605, 607 (7th Cir.1998)). Where, however, a debtor can show

that the estate has assets in excess of liability that would entitle him or her to a distribution of the

surplus, then the debtor has standing as a “person aggrieved.” Id. In this regard, “[t]he debtor must

show more than a metaphysical possibility of surplus; instead it ‘must show that such surplus is a

reasonable possibility.’” In re Khan, 544 F. App’x 617, 619 (6th Cir. 2013) (quoting In re Lunan,

                                                   5




 Case
   Case
      3:22-cv-00474
        3:21-cv-00797Document
                       Document
                              5-111 Filed
                                     Filed08/04/22
                                           03/07/22 Page
                                                     Page132
                                                          5 ofof7134
                                                                  PageID
                                                                     PageID
                                                                         #: 1330
                                                                             #: 188
133                                                                                               133


523 Fed. App’x at 340).

        Because Manookian did not present “something tangible and concrete” to establish a “high

likelihood” there would be a surplus (as opposed to a reasonable possibility), he was unable to argue

against the proposed settlement, and this may have affected his due process rights. Although the

Trustee argues that Manookian’s “interests were . . . considered” because Konvalinka’s objections

were heard during the second phase of the bifurcated hearing (Doc. No. 9 at 8), and while the

Bankruptcy Court stated that “there is no harm to Mr. Manookian because the Court still is

addressing the sufficiency of the settlement agreement in which the Trustee is attempting to enter

into,” (Doc. No. 4-1 at 56), different litigant’s arguments do not necessarily go hand-in-hand, nor

are they always fungible. As the Bankruptcy Court observed with regard to the propriety of the

settlement agreement, “Mr. Manookian . . . doesn’t get his day in court, but the issue gets its day in

court.” (Doc. No. 4-1 at 55). Nevertheless, a litigant’s due process deserves consideration applying

the correct legal standard.

        In their respective briefs, the parties suggest that there either was or was not a reasonable

possibility of a surplus, and this Court could make that determination based upon the appellate

record. However, because “[a] bankruptcy court’s finding that a reasonable possibility of a surplus

does not exist is a finding of fact,” In re Licata, 659 F. App’x 704, 706 (2d Cir. 2016), the Court will

leave it to the Bankruptcy Judge to make that determination under the proper standard because he

is intimately familiar with the facts of this case.

                                                  III.

        For the foregoing reasons, the Bankruptcy Court’s “Order Granting Motion to Approve



                                                      6




 Case
   Case
      3:22-cv-00474
        3:21-cv-00797Document
                       Document
                              5-111 Filed
                                     Filed08/04/22
                                           03/07/22 Page
                                                     Page133
                                                          6 ofof7134
                                                                  PageID
                                                                     PageID
                                                                         #: 1331
                                                                             #: 189
134                                                                                    134


Compromise and Settlement and Finding that Brian Manookian Lacks Standing” (Doc. No. 1-3) is

hereby VACATED. This case is REMANDED to the Bankruptcy Court for further proceedings not

inconsistent with this Memorandum Opinion.

       IT IS SO ORDERED.



                                          __________________________________________
                                          WAVERLY D. CRENSHAW, JR.
                                          CHIEF UNITED STATES DISTRICT JUDGE




                                             7




 Case
   Case
      3:22-cv-00474
        3:21-cv-00797Document
                       Document
                              5-111 Filed
                                     Filed08/04/22
                                           03/07/22 Page
                                                     Page134
                                                          7 ofof7134
                                                                  PageID
                                                                     PageID
                                                                         #: 1332
                                                                             #: 190
